 

Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 1 of 41

APPENDIX I
TAB O
 

Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 2 of 41

 

 

 

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e
In The Matter Of:
e Tammy Kitzmiller, et al. v.
Dover Area School District, et al
e
Richard Nilsen
January 3, 2005
e
e
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Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 3 of 41

Tammy Kitzmiller, et al. v.
Dover Area School District, et ai.

 

IN THE UNITED STATES DISTRICT COURT
FOR FHE MIDDLE DISTRICT OF PENNSYLVANIA

TAMMY KITZMILLER: etal, .

Planitis . CIVIL ACTION NO. 04-CV-2688

VS. : .
DOVER AREA SCHOOL DISTRICT, (JUDGE JONES}
eal, .
Defendarks
Deposition of
Faken by
Date
Betore

: RIGHARD NILSEN
> Plainittis
> January 3, 2005, 8:30 a.m.
> VIckI LL. Fox, AMR,
Reparter-Nolary
Place : Two School Lane
Dover, Pennsyivania
APPEARANCES:
PEPPER HAMILTON LLP
BY: ERK: J. ROTHSCHELD, ESQUIRE
ACLU OF PENNSYLVANIA
BY: WITOLD WALCZAK, ESQUIRE
For - Piairdiits
THOMAS MORE LAW CENTER
BY: PATRICK T, GILLEN, ESQUIRE
For - Defendants
PARTIES: BETH EVELAND
CYNTHIA SNEATH
APRALENE ANO FREDERICK CALLAHAN

Richard Nibe
January 3, 200:

 

 

W INDEX
El WITNESS
& RICHARD NILSEN Exeminaiion
4] By Mr. Rothschitd 3,711
5] By Mr. Gillen 103
(6)
i
)
8 EXHIBITS
(1Q Ptalntiif Deposaion
Exhibit Number Page

ny

4. Complaint in Kazmiler v. Dover Area School 7
[t2} District,

[13] 2, Answer in Kitzmiller v. Dover Area School 7

District,

4]

3. Dover Area School District, Board Press Release 48
(15} For Biology Curriculum — 11-10-04; reposted 12-14-04.
(16) 4. NewsBank InfoWeb Articles from the York Dispatch 53

and Delly Record.
ny

§. Dover Area School District Memorandums wih 14
[18] Attachments, No. 000001 through 167.

(19) &. Dover Area Schoo! District Blolopy | Planned 46

Course/Curriculum Guide.

Page 2

Page 3
(il STIPULATION
m It is hereby stipulated by and between the
B] respective parties that sealing, certification and filing
4} aré waived; and that all objections except as to the form
i of the question are reserved until the time of trial.

me
m RICHARD NILSEN, called as a witness, being duly
jf) SWOT, was examined and testified, as follows:
&
[0} BY MR. ROTHSCHILD:
my =©6 Q: Good morning, Dr. Nilsen.
zs A: Good morning.
3} MR. GILLEN: I simply wish to note for the record

(4) that this deposition is being taken pursuant to the

1 Court Order authorizing limited preliminary discovery
(6 for the purpose of determining whether the plaintiffs
1 wish to file a temporary restraining order. That is our
4 understanding of the Court’s Order, And that the

9 inquiry is limited in general to the origins of the

y policy at issue, its purpose and the events in the

Rt) classroom on January 13th, 2005.

ea . MR. ROFHSCHILD: That is a fair description of the
aj Judge's rulings.

4

25)

Page 4
BY MR. ROTHSCHILD:

@: Good morning, Mr, Nilsen. I have introduced myself off
the record, but let me introduce myself on the record.
My name is Eric Rothschild. ] am from the law firm of
Pepper, Hamilton, and I am here representing the
Plaintiffs in the lawsuit against the Dover Area School
District and Dover Area School District Board of
Directors.and your deposition is going to be taken in
that matter.

Do you understand that?

As Yes.

Q: 1 am joined here at the deposition by Vic Walczak of the
ACLU.

Mr. Nilsen, what is your current employment?

A: Dover Area School District.

@; What is your position at the Dover Arca School District?

A: Superintendent. ,

Q: How long have you held that position?

A: Three years.

Q: Have you ever had your deposition taken before?

A: Yes.

Q: What were the circumstances?

(1)

 

 

A: Deposition with this situation or any deposition?
Q: Any deposition.
A: Court matter dealing with an employe.

fea}
(25}

 

 

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(3) - Page
   

Richard Nilsen
January 3, 2005

Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 4 of Al

Tamory Kitzmiller, etal v.
Dover Area School District, et al.

 

 

Page 5
(q @: And that was in your capacity as a Superintendent?
m A: Yes.
fp) © @: Andis that the only time you have had your deposition
[4] taken?
A: Yes.
Q@: Are you represented by counsel today?
A: Yes.
Q: And who is that attorney?
A: The gentleman to my right Patrick Gillen.
Q@: What were the circumstances in which you engaged him to

35839245

E
(t1] represent you?

pqs A: The Dover Area School Board elected Thomas More Center
[13] to represent the School District.

v4} Q;: When did that happen?

5] A: Sometime in the middle of December.

16: Prior to that, did you have any attorney/clicnt

(17) relationship with Mr. Nilsen or his law firm?

 

(1) A: Mr. Nilsen or his law firm?
ti «=: Lam sorry, Mr. Gillen or his law firm.! apologize.
po) 0S « A: No.
i; @: Do you know whether the School District had any
[24 attorney/client relationship with Mr, Gillen and his aw
(23) firm prior to that decision in the middle of December?
pay) A: No.
p51  @: Do you know whether the School Board had any
Page 6

() attorney/client relationship with Mr. Gillen or his law

1) firm priog to that decision in the middie of December?
mAs: can’t speak to that.

yw] @: You don’t know one way or the other?

m <A: No.

4. Q: Doyou know whether any individual members of the School
7) Board had an attorney/client relationship with

Mr. Gillen or his law firm?

fy 0 Ar T don’t know that.
pa «= @:: You have had a deposition taken before, but I am just
(14) going to remind you a little bit about the process and

[1] some of the ground rules. ©

3 Fam going to ask you questions hopefully slower

{14) than I have been before, and you will answer. Our

1 questions and answers will be taken down by Ms. Fox, the
(16 court reporter.

ims In order to get a clear record and to make her job

(15) a Little casiex, one thing I am going to do is slow

[i] down. Some other things we can do is ] am going to ask
(20 that you allow me to finish my questions before you

(21) answer so that she can get my entire question. And I

(24 will try to do the same while you are answering:

243 Do you understand that?
pa OA: Yes.
pa @:: Talso need you to answer audibly with words as you have

 

/ Page 7
()] been rather than with gestures or nods or audible sounds
2) that are not words because the record will not be clear
ii if you communicate in that fashion.
@) Do you understand that? -
pg) OAs: Yess.
Is) «—Q::« Ef there is any question that ] ask you that you don’t

4 py understand, please Jet me know, and I will try and

yay clarify for you; okay?

m A: Yes.

0) «| «@: This is not an endurance contest. You should feel free
{11] to take a break at any time. Just please Iet me know,

(t2] and then we will go off the record, and we will all take

(13 a break. Okay?

fia) Ar Yes.

3) (Plaintiff Deposition Exhibit 1 was marked.)

(v6) BY MA. ROTHSCHILD:

7 = G: Tamgoing toshow you twodocuments that we have marked
113) as P-1 and P-2.The first document, P-1 is the

{19} Complaint filed by plaintiffs in this matter.

 

fq «©=-s Gould you take a look at that?
ey «= A: (¥imess complies.)
izqj_- «Gt: Have you seen that document before?
a) 0s As Yes.
4] (Plaintiff Deposition Exhibit 2 was marked.)
(25)
Page

1} BY MA. ROTHSCHILD:

@ @ Lam going to show you a document we have marked 2s P-2
js] which is the Answer filed on behalf of the School

j4) District and the School District Board of Directors —

Is) or the Answer that was provided to us today. ] don’t

f@) know whether it was filed with the Court yet.

jm MA. GILLEN: Right. Do you have 2 copy for me?

i]. MA. ROTHSCHILD: Sure.

m A: Yes.

{19 BY MR. ROTHSCHILD:

ti) GI just handed you P-2, which is the Answer that was
[iq] prepared on behalf of the School District and the School
11 Board and provided to us today.

14) Have you seen that document?

(1 Ar Yes.

[tq Q: Have you read through the answer?
(7) Az Yes.

1) @: To the best of your knowledge, is the information

[tq] contained in that Answer correct?

py. A: To the best of my knowledge, yes.

ey 6G: Is there anything in the Answer that you saw that you
{zz disagreed with?

1) 0A: No.

4] @: Did you do anything to prepare for this deposition?

 

(253 «A: Yes.

 

 

 

Page 5- Page 8 (4)

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Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 5 of 41

Tammy Kitzmiller, etal. v.
Dover Area School District, et al.

Richard Nilse1
January 3, 200!

 

Page $
GQ: What did you do?
A: Met with the attorneys.
Q@: When did you do that?
A: Last night.
Q: Where did you mect?
A: Here.
Q: For how long?
A: Four hours.
Q: Was anybody else — which attorneys were present?
A: Mr. Pat Gillen and Dick Thompson.
Q: Was anybody else present during that mecting?
Az Yes.
Q: Who else was present?
A: Mr. Alan Bonsell, Mrs. Sheila Harkins, Mr. Bill
Buckingham and Mr. Mike Baksa.
@: The first three individuals you mentioned are members of
the School Board?
Ar Yes.
Q: What is Mr. Baksa's position?
-[2q) OA: Assistant Superintendent.
«= @: Other than meeting with counsel last night, have you had
(22) any other comrounications?
7 «MIR. GILLEN: Objection, unclear. Meeting in
4] person?
pes} MR. ROTHSCHILD: Yes.

BZEBBRBIABEBES

Ny
04}
(15)
115)
7
(18)
[a]

 

Page 11

1) MR. GILLEN: Objection.

BY MA. ROTHSCHILD:
Q: Face-to-face meetings.
MR. GILLEN: Thank you.
As Yes.

BY MR. ROTHSCHILD:
Q: Have you also had communications with him by phone?
A: Yes.
@: On how many occasions?
A: Between five and ten.
@: Prior to the Thomas More Law Center being engaged 2s
[12] Counsel in the middle of December, did you have any
[} communications of any kind with the Thomas More Law

 

 

Page 10
1) MR. GILLEN: Okay, meeting in person.
i BY MR. ROTHSCHILD;
B @: Other than your mecting in person with counsel last
#] night, have you had any other face-to-face in person
f mectings with Mr. Gillen or Mr. Thompson or anybody else
[6 rcprescniing the Schoo! District or School Board in this

P) lawsuit?
fm A: Yes.
— Q: Who did you meet with?

[19
(tt
hz

A: I met with Mr. Thompson.

Q: When was that?

A: On two occasions.

(13) «Q: What were those occasions?

4] A: The School Board meeting and the meeting with the Judge
(1 in Washington — in Harrisburg,

[1 «©Q: Are those the only — does that exhaust all the

117) face-to-face mectings between you and counsel?

ity =A: No.

19 = GQ: ‘What other face-to-face meetings have you had with
Ry counsel?

ft] =A: At the same time, Robert Muise from Thomas More.

2) G@: When you say at the same time, do you mean —

fq} «= A: The Board mecting and the meeting with the Judge.

i] =: Does that exhaust all your meetings with counsel for the

fe District in this matter?

 

[4] Center?
5) = At Yes.
ft} = @: When were those?
itt) As In the fall sometime.
tia =: Can you estimate what month?
fii) «=A: No.
eo) 0 Q: What were the circumstances that you had communications
f2t] With the Thomas More Law Center?
fz A: A question about Of Pandas And Peopie book.
iz] «=: Who participated in that call?
40 A: Dick Thompson and me.
Ps) -Q: Who initiated the contact?
Page 12
As I did.
@%  @: What caused you to call the Thomas More Law Center?
m0 OA: My own question.
4 )«©6s G: What was your question?

f A: Whether he knew of any School District that was using

ft the book.

fm @: Howdidyou become aware of the Thomas More Law Center
& before making the call?

@ A: Mr. Bill Buckingham, a School Board member, said —

9] communicated about the Law Center.

(i) @: Did you get an answer to your question from

(12) Mr. Thompson?

13) A: Yes.

4) G@: What was that answer? /

ti] =A: He was not aware of any School District that used the
fite] book.

7) @: Was that the entire substance of your conversations?
1a) OA: Yes,

va] G@: Do you know whether Mr, Buckingham had communicate:
with :

rq the Thomas More Law Center prior to the time you called

f2t) them?

ka =A: I won't speak anything about what Mr. Buckinghamdidor
234 did not do. I don’t remember.

ray G: You don’t know?

fe) «= A: Or ] forgot.

 

 

 

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(5) Page 9 - Page 12
 

Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 6 of 41

Richard Nilsen
January 3, 2005

Tammy Kitzmiller, et al. v.
Dover Area School District, et al.

 

 

Page 13

{it} @: Could you turn to Exhibit P-1?

A: CWimess complies.)

pt  @: Starting on the first page, the Complaint states that

4) the Schoo! District Board passed a resolution and then

8) states the text of a resolution.

9) «3—- Boo you recognize the language on the top of page

i) two of the Complaint starting with students will be made

18) aware of gaps/problems in Darwin's theory as being the

Is} content of the resolution that the School District Board
(10) passed on October 18th modifying the biology curriculum?

“pay A: Yes.

1 @: Do you know who prepared the [ext of the resohution?
tim 0A: Yes.

ta,‘ G: Who prepared it?

(133 A: The School Board members.

16) @: Do you know which School Board members prepared the
[v7 text?

pe) A No.

19 @: Do you know whether anyone besides School Board members
(20) participated in preparing the resolution?

i} «0 At The resolution you speak of was a combination of many
(24 different documents. The documents that were used were

23} prepared from the Assistant Superintendent's Office.

a] @! When you are talking about preparing the documents, you
j25] are talking about literally typing them up and running

Page 14

{t) them off? /

fj OAS Tam talking about that as well as gencrating the

1] information.

(4) Q: Who drafted the text? Who participated in the drafting
6) of the text of the resolution other than the School

i} Board members, if anyone?

(7 ‘A: Again, you are not hearing. The resolution was a

}#) combination of three different documents.

m  @: Okay.
pq) As Those three different documents generated out of the
(11) Assistant Superintendent's Office. The document you sec
(12) in front of you is a combination of those three
[3] documents. So the specific resolution in front of you

(14 that is noted on top of page two is a combination of a

15} discussion that happened on October 18th from three

(16) different documents,

17) (Deposition Exhibit P-5 was marked.)

3 BY MR, ROTHSCHILD:

pa @: Tam going to show you a document that we have marked as
a, P-5. It is a composite of the initial production

Rt} provided by your counsel to plaintiffs on Thursday,

{24 December 30th. It begins with the numbers 000001 and

jz concludes with the numbers 000167.

0s MIR, GILLEN: Look through them.

Ra

 

Page 15
a) BY MR. ROTHSCHILD:
mw OG: Mr. Nilsen, I am going to ask you about a specific group
BB} of documents in this collection which begin with the
{41 numbers 000139 and end with the numbers 600151.
5) Are the documents beginning at 146 and ending at
i 151 the three documents you are referring to from which
77) the final Board resolution was comprised?
fs) «CA: Can you repeat the numbers, again, please? 146 to whal?
mB 206s: 151.
(19) A: Yes.
1) @: If you could, turn to page 148 which is a memo
[tq indicating dhat these are the recommended changes to the
193] biology curriculum from the Board curriculum committee.
it4; Do you see that?
fis) OA Yes.
{1 ~~ G@: Doyou know who prepared the language in the recommended
(17) change underneath this memo?
«A: Could you define prepared?
pay: Who devised the language?
«= A: No, I don’t know.
Et) Q: How did you first become aware of this recommended
[24] change from the Board of Curriculum Committec?
i): Mr. Baksa, who is on 148, gave it to me to give as an
ty attachment to the Board agenda.
ey: He did not tell you who had prepared the language?

Page 1°=""

 

i} «=A: No.
«0G: Mr. Nilsen, the draft resolution uses the term
3] Intelligent Design. What do you understand Intelligent
#) Design to mean as used in this resolution?
i) A: Which resolution?
(6) @: The resolution that is the final resolution that is set
1 forth in the Complaint.
) A: That scientifically, evolution has a design.
tm = @: Anything else?
ty =A: No,
iy) GQ: Where did you gain that understanding?
na Ar in discussions I have had with numerous individuals.
3] @: Can you identify those individuals?
4) A: Counsel, Board members.
ng «Gs: Anybody clse?
eA: To my recollection, no.
nz) G: When you refer to counsel, are you referring to
(13) attorneys from the Thomas More Law Center?
fo | As Yes.
fo) «0 @: Are there specific Board members that imparted that
[21] understanding to you?
24s: Yes.
fy «= &: Who?
a A: Present Board members.

 

|e Qa: Can you name them? I don't mean name all the present

 

 

 

Page 13 - Page 16 (6) Min-U-Scripto Filius & McLucas Reporting Service, Inc.
 

Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 7 of 41

Tammy Kitzmiller, et al. v.
Dover Area School District, et al

 

Page 17
Ut] Board members. ] mean the ones that imparted the
(4 understanding.
® A; I -would end up saying in a general sense all of the
#] present Board members, ] have had discussions with the
5) definition of Intelligent Design which would necessitate
1 me to name al} of them.
mm = G::- So it would be all?
1) )~=—OA: 'To the best of my recollection.
i =: You used the phrase that scientifically evolution has a
Ho) design. What do you mean by evolution in that sentence?
111] A: The evolving nature.
14 «©. Qs: That's it?
133A: Yes.
tj): @: Other than talking to these Board members and lawyers,
[19 did you do anything else to investigate the subject of
(1) Intelligent Design?
it) A: No.
1 = GQ: Do you know whether anybody else employed by the — have
1a you asked anybody else employed by the School District
20} to investigate Intelligent Design?
(2) A: Specifically Intelligent Design, no.
ft «=: Why do you qualify that by specifically?
was A: The responsibility of the Curriculum Director Assistant
24} Principal's is to research everything in the area of

 

(25) curriculum. So I would have required of him to research

Page 18
‘() anything that is associated with curriculum.
t§ @: Who are you referring to?
mA: Mr. Baksa.
4) G: Do you know whether Mr. Baksa did any investigation of
& Intelligent Design?
1)0=— OA: Ido not know that.

™ @: Did you ever specifically instruct him to investigate
1s) Intelligent Design? :
m = CAs: No.
oo )©=«@:_- Did you ever specifically instruct any members of the
it? Dover High School faculty to investigate Intelligent
14 Design?
13) A: No.
4] @: Does Intelligent Design differ from Darwin's theory of
115) evohution? :
{tq A: Tdon't know.
17 «=©6@: Do you understand Intelligent Design to involve the work

(19) of a master intellect?

e))«=—s A: No, not solely.

tf «= GQ: Does the concept of Intelligent Design involve in any
let] Way the work of a master inteliect?

A: is that possibie 2s part of it? Yes.

Q: What leads you to say that?

A: There are other concepts beyond master intellect.

G; What are the other concepts?

BERS

Richard Nilse
_ January 3, 200:

 

Page 1!
A: There is a design. function beyond the randomness of

 

14 Darwinian theory.
ps) Q: What is the mechanism for that design function?
4) «= A: Don’t know. ,
1 «© @:: Do you know of any other explanation for the operation
15] Of design function other than that of a master
7) intellect?
1 «6©6-| A: How do you define master intellect?
im 6s: Are you aware of Intelligent Design asserting that there
{to} —~ that a master intellect is working?
tn} A: How do you define master intellect?
nz) Q::‘Using the terms from the textbook, are you not familiar
[13] with the term master intellect?
4) A: I'm not familiar with it as you define it.
(1 @: Have you heard the term master intellect used in
[16] relationship to Intelligent Design?
17) As Not that I can recall.
1g «=. 9; Okay. What de you understand the term intelligent to
Hg mean in the phrase Intelligent Design?
fq «= As: That there is no randomness.
1) @: When was the first time you heard about Intelligent
22} Design?
9A; July of 2004,
4)  @: How did you hear about it?
ys} «A: : I don’t recall.
Page 2
1) @: Do you know what person or persons brought the idea of
& Intelligent Design to your attention?
m0 OA: No.
4] @: Do you remember any of the circumstances in which
i) Intelligent Design came to your attention?
te) «0s: No.
1 ©@: When was the first time you heard of the Pandas book?
] When i refer to Pandas book, do you know what ] am
5] referring to?
fio) | A: Yes.
(1) @: That is the book that has been donated to the School
2) District?
ta] =A: Is that a question?
14] G: Yes.
fs} As Yes.

16 4G: When was the first time you heard of the Pandas book?

7) A: My recollection is in July of 2004.

tia}  @: How did you become aware of the Pandas book?

19 «© A: Mr. Buckingham, a School Board member.

oq) )=| GG: - How did he bring it to your attention?

4) A: That he was interested in having that book as part of
(22) the curriculum. :

fe) «9 @: Did he say why he wanted that book as part of the
(24) curriculum?

5} A: My recollection is that he wanted that as another

 

 

 

 

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(7) Page 17 - Page 2
Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 8 of 41

Richard Nilsen
January 3, 2005

Tammy Kitzmiller, et al. v.
Dover Area School District, et al.

 

 

Page 21

() discussion ites.

fm 9: Another discussion item for what?

= = A: For the biology curriculum.

4] Gz Why did he want that as another discussion item?

1) As: F-won't speak for Mr. Buckingham.

ts] «Gt: Did he say why he wanted it as another discussion item?
fm A: Myrecollection is he wanted other options discussed

py beyond what was in the teacher, administration

ja] recommended book.
1G: Did you have an understanding as to why he wanted other
[11) options?

tq At 1 believe he was trying for a balanced view.

ig] Q: Why do you think he wanted a balanced view?

14) A: T-won't speak to that.

14) GQ: What was your understanding of why he wanteda balanced

fe) view?

117 At Because he believed the Darwinian theory was not the
114) only theory.

fi «© @:_ Did you have an understanding of what he meant when he
124 said he wanted a balanced view?

ej «A: 1am sorry. 1 thought I answered that he wanted other

fe] options.

fey) «6G: Was he specific about what kind of other options he

(24) wanted?

ys) A: I'm sorry. Could you state that again?

Page 22
ti} «© @t_ Did he state what other kind of options he wanted in the
biology curriculum when evolution was taught?

1 A: Beyond the Of Pandas and People book? To me, no, not
4] that I can recollect.
i «© @: Could you turn to page six in Exhibit P-2 which is the
BB) Answer?
vA: CWitness complies.)
i) «© @:_ In the first full paragraph, the Answer States that the
 DASD Biology Curriculum Policy does not advance
(19) religion, but merely provides the students of Dover High
[11} School with an honest science education for the valid
(12) and clearly secular purpose of enhancing the science
1% curriculum by informing students about the existing
(4) scientific controversy surrounding Darwin's Theory of
135) Evolution, including the fact that there are alternative
te) scientific theories being advanced by scientists.
7 = Do you understand that to be an accurate
1a} recitation of the District's purpose in changing the
tq biology curriculum?
aOs«AA:: Yes.
ni) @: Does that state the — is that a full statement of the
24 District and Board's purpose in amending the biology
fe curriculum?
rea) A Yes.
pa  @: Do the District have any other purpose in amending the

 

Page 23
{) biology curriculum?
eA: When you say District, who are you speaking off
 _@: The Schoo! District which you work for.
4} A: Again, you need to differentiate that. Meaning there
(5] are various components of the School District. There is
fe) Board members. There is administration. There is
i} teachers, and there is me.I can’t speak for anybody

f@ beyond mie.
i «©: Okay. Can you speak for administration?
(0) «= At: L can only speak for me.

114) : Does this statement here reflect your understanding of

(12) the purpose in amending the biology curriculum?

3a) A: My purposc, yes.

114) @: Did you have any other purpose?

vg =o A: No.

(1) @: To your understanding, does this reflect the Board's

t17] understanding in amending the biology curriculum?
aq A: | won't speak for the Board.
toy «= Do you have any understanding in what the Board's
[2] purpose was in amending the biology curricubum?
py «=A: I. can state it this way: The Board members that Po
zz) aware of that reviewed this paragraph supported this
[23] paragraph.
290 G:: Other than the fact that they reviewed and supported
[2] this paragraph, do you have any other understanding
Page ome’
ti) about what the Board's purpose was in passing the
(2) resolution that amended the biology curriculum?
pr A: No.
4) @: What Board members were you referring to who reviewed
i) this paragraph?
i «Ax: Mrs, Harkins, Board President, Mr. Buckingham and
7 Mr. Bonsell.
fq «GQ: Do you know whether any other Board members have
ft reviewed the Answer? :

poy =A: No.
1) @: ‘You don't know, or you know they have not?
(125 As I don't know if anybody has reviewed it. Ail I know is

[a] who revicwed it last night.

ig Q: Have you read the Pandas book?

(15, A: No.] have looked at it, skimmed it, but I have not
[ey read it.

(17) @: Do you live in Dover?

 

tie, =A! No,

19 G@: Where do you live?

oA: Fairview Township, West Shore School District.

ey @: Prior to working a5 Superintendent for the Dover Area

2 School District, what was your job?
3] Ar Assistant Superintendent for the Dover Area School
(24) District.

 

 

(2s): How long did you hold that position?

 

 

Page 21 - Page 24 (8)

Min-U-Scripte

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Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 9 of 41

 

 

 

Tammy Kitzmiller, et al. v. Richard Nilse
Dover Area School District, et al. January 3, 200
Page 25 Page 2

A: Three and a half years.

4) A: No.l arm sorry. That is over 30 years ago. That is

 

 

fa «= @: When you were Assistant Superintendent, did you have 72] all | remember.
4 responsibilities for curriculum as Mr. Baksa docs now? @ Q: Have you attended any courses or lectures or seminars
4) =A: Yes. f¢} relating to the subjects of evolution, Intelligent
§ @: And prior to becoming Assistant Superintendent, what did is) Design, creation or Creationism?
15} You do? wi OA: No.
jf) =A: - Director of Curriculum Instruction. m 4: How often does the Dover Area School Board meet?
«= @: For Dover area? 3) A: Usually twice a month.
i) =A: No. Big Springs School District. m @: Do you attend all those mectings?
(1) 6G: How long did you hold that position? no At Yes.
(4) (A: Five years. Five or six. itt) Q: Who keeps the minutes of those meetings?
(1 © @: And prior to that? (A: The secretary.
(i A: High School Principal, Big Springs School District. 3] @: How is the secretary position selected?
(14 Q: How long did you hold that position? (4) A: To clarify, the Board approves a secretary. Our current
5} A: Total five years. ['5] secretary of the Board is battling cancer and has not
tie) = .Q: You used the word total, Was it broken up? 116] been in the District for over a year and a half. We
i7} A: Yes. 7] have had an Acting Secretary who the Board formally
(18) Q: Why was that? {8] approved as Assistant Secretary.
14 =A: I was acting one year, then returned to the Assistant (18) On one occasion, October 18th, we had an
Fo) Principal's position. then went te another District (20) additional individual sit in as the Board secretary.
{21] for three years, then returned for four. ry Gs In place of the Acting Secretary?
fq «= GQ: When you were in the other District, were you also eas Yes.
(233 Principal? ea «=: Is it the practice of the Board to record the meeting?
fo) A: Yes. eal A: Yes.
(2s) @: Prior to taking positions as a Principal or Assistant 125) Q: What is done with those recordings after the meeting is
Page 26 , Page 2€
i} Principal, were you ever a schoolteacher? [1] completed?
( 0 A:_:'‘Yes. @ A: They are kept until the Board officially approves the
 G: What subjects did you teach? f) minutes. After the approval of the minutes, the tapes
4) A: Social studies. 4] are destroyed.
6] Q: How long did you do that? 1) G: Who developed the policy of destroying the tapes after
(6) A: Five and a half years. | the minutes are approved?
 Q@: Where did you get your degree? 7% A: Don’t know. It happened prior to me.
& A: Which one? © =©=—«@: Are there any circumstances where the full Board mects
™@ G: What degrees do you have? i) that is not open to the public?
tq) = A: Thavean undergraduate BA in social studiesfromGordon = ig A: Yes.
ti) College. I have a Master's in Adrninistration from ti) @: Is there a name for those kinds of mectings?
a Shippensburg University, and 1 have a doctorate from qs A: Executive session. ,
013] Temple University, So j am actually Dr. Nilsen. 133 -Q: Do you attend those sessions?
14] G@: During any of your college and post graduate education, (14) A: Some.
{15} did you take any science courses? 1s) G: What are the — let me back up. Is it your
1} «=A: No. Wait a minute. You said undergraduate? tq responsibility to attend all the full public Board
17, MA. GILLEN: He did I beiieve. I17} meetings?
ay =A: ‘Yes. te] OA: Yes.
(8) BY MR. ROTHSCHILD: vs} Q: What are the circumstances where you will attend an
ra) = G@:: Did you take any biology courses? [20] executive session meeting?
1) A: No. [ took a theory of science | believe. etl A: Wrequested by the Board to attend.
2) G: While you were an undergraduate? 4) @: Does anyone record what is said in the executive session
my «OA: Yes, |) meetings?
4) @: That is the only science subject you can remember taking 40 At No.
5) as an undergraduate?

 

 

9  Q: Who developed the policy of not recording executive

 

 

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Min-U-Scripte

(9) Page 25 - Page 2§

 
Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 10 of 41

Richard Nilsen
January 3, 2005

 

Page 29

[t] session meetings?

f@ = A: Don’t know.

mp} 4 @: Are any minutes produced for executive session meetings?
4) OA: No.

i = CAralene D. And Frederick B. Callahan exit the

ji conference room.)

rM BY MR. ROTHSCHILD:

3; @; Is it your practice to take notes during Board meetings?

fy 0O« As Yess.
i= GQ: What do you do with those notes after the meeting is
1) concluded?
tz) As After I have implemented what my notes say, i destroy
4 them.

4) GQ: Ts it your practice to take notes at executive sessions?
as) As Yes.

ie Qs Is it also your practice to destroy those notes after

7) you have implemented whatever your responsibilities are?
tA: Yes.

- fq @: Do you memorialize your task Lists from those meetings

24 in any other form such as on your computer?

Tammy Kitzmiller, et al. v.
Dover Area School District, et al

 

Page 31

1): Can you describe those two committees?

=A: There is the Board curriculum committee, and then there.
t4 is the community curriculum committee.
4}  Q: Let's start with the Board curriculum committee, Who
15) are the members of the Board curriculum committee?
| «As: The Board members and the Assistant Superintendent.
m = G@:_ Does anybody besides those individuals attend curriculum
) committee meetings?
m A: If requested, yes.
tio) «= G:: Does faculty attend curriculum committee mectings?
gi] At Which curricuhum committee meeting?
12) @: The Board curriculum committee.
ia) A: Ef requested, yes.
4) GQ: What are the circumstances under which a faculty member
[15 is requested to attend curriculum committee meetings?

16] A: If there is a question about a specific issuc that the
(17) Board is reviewing, or it could be another

[19 administrator.

jy)=s G: In your experience, has it been the Board curriculum

fo) committer’s practice to include faculty in the subject

 

 

Page o> —

py A: No. 1] matter being discussed by the curriculum committee?
za «Gt: Does the Board have a curriculum comunittee? a A: Which curriculum committee?
tC: Yes. 23) Q: The Board curriculum committee. If the subject is
eq Q: How is the curriculum committee selected? ee chemistry, has it been the committee's practice to
es} A: The Board President. ps] invite a chemistry teacher?
Page 30
® Qe Is there a chair of the curricuhim committee? A: No,
OAs Yes. tf) @: Wharis the comomnity curriculum committee?
fj - Q: How is that person selected? fs As: The committee chaired by the Assistant Superintendent
4A: Board President. 4) for curriculum that has teachers, community members,
1) @: How are the members of the curriculum committee (9 Board members and administrators on it.
fo] selected? ts -@: Can you describe the functions of each of these
vA: Board President. [) committees in developing curriculum for the School
Bp @ How often does the curriculum committee mect? i District?
0 A: When required. mA: The Assistant Superintendent is in charge of developing
po Qs Ase there any regularly scheduled mectings? 119 the curriculum in conjunction with the teachers, brings
iy A: No. {11} those recommendations to the community curriculum
{iz} @: How isa mecting scheduled? 1!) committee, then brings those recommendations to the
(gj A: When either a Board chairperson requests or the (13) Board curriculum committee meeting.

{14} Assistant Superintendent for Curriculum requests.

19 MA. ROTHSCHILD: Can you read that back?

ite) «= (Last question and answer were read by the court

117) reporter.)

[tay BY MR. ROTHSCHILD:

pw «9 @: When you say a Board chairperson, you are referring to

py the chair of the curriculum commuttee?

ey | OA: Yes.

4 GQ: Who attends the curriculum committee mectings?
pa A: Which curriculum committee mecting?

4): Any curriculum commitice mectings.

py OAS There are two separate curriculum committecs.

{14} Q: And then would the next step in the process be —
py OA To the full Board.
tre «= GQ: Just to make sure the answer is clear, the process is

(17) that the Assistant Superintendent and faculty make

(18) recommendations first to the community curriculum

{i} Committee, then their recommendations go an to the Board
fq curriculum committee, and their recommendations then go
[21] on ¢o the full Board?

pz OAs Yes.

jes} GQ: Is that practice the subject of written policy?
4) A: No.

ps  @: How was that practice developed?

 

 

 

 

Page 29 - Page 32 (40)

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Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 11 of 41

 

 

 

Tammy Kitzmiller, et al. v. Richard Nilsen
Dover Area Schoo] District, et al. January 3, 2005
Page 33 Page 35

1 As Prior to when I arrived.
t «© @:- Did you follow that practice during the time that you
(3) were Assistant Superintendent?

#) =O: Yes.

] @: Did you ever deviate from that practice?

i) «= Ar ] don't remember deviating from it.

7 = G:-Has that continued to be the practice during your tenure

[} 25 Superintendent?
m A: Yes.

19] «= @: Are you aware of that ever being deviated from?
ny =A: To my knowledge, no.
12: Do you know whether that practice was deviated from in

it) the development of the change in the biology curriculum?
(4) A: It was not deviated.

113 Q: So it's your understanding that the process was that the
(16; Assistant Superintendent and faculty made

[7] recommendations to the community curriculum committee,
[18] and they made recommendations to the Board committce,
119) and then their recommendations were made to the full

poy Board?

ry A: Yes. And in fact, there is an intermediate step of

eq] Where when the Board was reviewing — when the Board
pa] District — I'm sorry. When the Board curriculum

24) committee had recommendations that were going to the

(2) full Board, the Assistant Superintendent sent to the

Page 34
#) full curriculum committee what those changes were after
@ they had their original recommendation.
 ~—sSo they were invoived not in the official meeting,
#4) but in the communication of what the Board curriculum
i} committee was doing.
«0G: A little while ago, you described your communications
@ with the Thomas More Law Center in the fall of 2004.
i) «= Other than that communication, have you had any
[8] Communications with anybody outside the District prior
[1 to the October 18th, 2004 resolution being passed
(11) fegarding the biology curriculum?
04sOA: Yes.
3] @: Who have you had communications with?

14 A: Hundreds of e-mails, letters and phone calls.

130 @: Prior to the resolution being passed?

ra A: Oh, my apologies.

7) G: That's all right.

pe. At You are talking about the October 18th resolution?

1 «= G@: Correct.

pa A: Idonotremember anybody prior to the October 18th me

{21] personally communicating with.

4 Q: Do you know whether anybody employed by the Schoo!
12a) District had communications with anybody outside of the

(29 District about the biology curriculum?

es} A: I cannot speak to that. don’t know,

@: Do you know whether anybody on the Schoot Board had
communications regarding the biology curriculum with
individuals or organizations outside the District?

As Prior to October 18th?

GQ: Correct.

A: I can't speak to that.

" Q: So you don't know?

A: I’m not sure.

Q: It is possible?

A: Is it possible?

Q: Yes.

2) A: Anything is possible.

113] Qs: Do you have any knowledge? Is this I don't remember, or
{14} you don’t know at all? .

1 = A: My comment is ] know of individuals that have discussed
[1@] topics. I don’t know whether it was before the October

‘| 18th or after.

=

SBEBBSRSBEBERA

pe «= GQ: What individuals are you referring to?

i: A: Mr. Bill Buckingham and Mr. Alan Bonsell-

2) @: Do you know who they have talked to?

2) A: II can't speak for them.

pa @:_ You used the phrase speak for them.1 want to make sure

j23) that we are distinguishing between something you don't
4) know and something you. don’t want lo say.
5] Is it something you don't know or something you
Page 36

( don’t want to say?

fm A: I don't want to say.

fl OQ: I would like your knowledge about who they have spoken
} to.

) «MR. GILLEN: If I] might, Eric. Do you know

js) meaning do you know personally versus do you have an

7) understanding? Maybe if you asked it that way.

@ MR, ROTHSCHILD: I think either.
j@ A: For a fact, unequivocally on the record, I don’t know.
[19} BY MA. ROTHSCHILD:

ty «= @: Do you have an understanding of whether Mr. Buckingham
ft or Mr. Bonsell have talked to anybody outside of the

fig) District?

qs At [have an understanding.

5 Q: What is your understanding?

(0 A: That Mr. Buckingham also spoke with the Discovery
j7) Institute.

(1 Q:-What is your understanding of what the Discovery
[1 Institute is?

po As It is an organization in western United States that
2] deals with scientific options.

 

fa = G: How do you know that?

29 «=A: I have talked with their aftoracys.

4] «G: When did you talk to their attorneys?

2) A: Face-to-face, sometime in December. And over the past

 

 

 

Filius. & McLucas Reporting Service, Inc. Min-U-Script?

(11) Page 33 - Page 3€

 
Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 12 of 41

Richard Nilsen
January 3, 2005

 

Page 37:
{i} two weeks periodically.
, «= MR. GILLEN: Were any of those discussions in

B} connection with the requests for legal advice about the

4} subject matter of this dispute?

i 860A: Yes.

is) MA. GHLLEN: To the extent that those

(7) conversations relate to discussions you had with

i) Discovery Institute attorneys secking legal advice in

fs] connection with this dispute, do not respond.
poy 6 A: Okay.
Ht BY MR. ROTHSCHILD:
qs G@: Can you tell me circumstances in which you did — the
[9] circumstances that resulted in you having discussions
(4) With the Discovery Institute?

ps) =A: The legal matter.

116} G: Did you call them, or did they call you?

fi) «= A: They called us. ,

{18} @: What did they say when they called you?

(9 (A: They wanted to discuss the lawsuit.

«= G: Who did you talk with there?

ey) A: Seth Cooper, And another gentleman whose name L forget.
ee Q: Do you know if Scth Cooper is a lawyer?

ey OA: That is my understanding.

4} @: Do you know if the other person was a lawyer?
5} A: Yes.

Tamuany Kitzmiller, et al. v.
Dover Area School District, et al

 

Page 39
I) advice. They called him.
2 =. MR. GILLEN: If you think — that is fine.
I) Attorneys can — particularly in public interest —
4} solicit clients which is my understanding of what
1) occurred here. ] believe they have an attorney/client
ie) relationship, anyway.
FI BY MA. ROTHSCHILD:
is) © Q:: Js it your understanding that the School District has an
j@) attorney/client relationship with the Discovery
(1 Institute?
fy) As Tcan’t define what that definition. Did they discuss
(i2} the lawsuit with them? The answer is yes.
13) @: Did you enter into a legal engagement with them? Have
14) you retained them?

1s A: Official document, no.

pe) Q: Have you verbally retained them?

177 As I’m not sure what verbally retained them means.
18) Gz Have you said I want you to be my lawyer?

119) «=A: No.

po} MA. ROTHSCHILD: I don’t think any of these

 

 

Page 38
1 Q: What did you say when they said they wanted to discuss
(4 the lawsuit?
pi As Come on in and discuss it.
4) «6: And when did you have that first contact?
(«0 At: The meeting was set up sometime in December.
je |= Were you ever authorized by the School Board to have
If) communications with the Discovery Institute?
m A; Officially, no.
mm @: When was your next contact with them?
fq OA Prior to the Board meeting on — I'm trying to remember
ii] the date — the 18th.
tq 0s MIR. GILLEN: Off
03 «A: December.
[14] BY MA, ROTHSCHILD:
th «@: Where did you meet?
te = At North Salem Elementary.
117} Q: How did your discussions with them at that mecting
tia) begin?
1) A: A discussion on whether they would be the law firm.
go MA. GILLEN: I'm sorry, Eric. Again, you can
fet) discuss how they begin, but don't discuss the subject
(23) matter of the discussion.
pa «0s MR. ROTHSCHILD; Patrick, we need to really
i) discuss whether this is an attorney/client communication
es) here because Mr. Nilsen didn’t seck them out for legal

j2t) communications are privileged.
122) MR. GILLEN: I believe that they are. Have they

{230 offered — have you communicated to them with the

ja} understanding they were offering you legal advice which
5] you wanted?

 

Page “
A: Yes.
BY MR. ROTHSCHILD:

Q: How did you communicate to them your interest in having

4) their legal advice?

sp A There are certain aspects of the case we have asked

Is) questions about that they have given us advice for.

v1 —sOMR. ROTHSCHILD: I am going to move on from this,

1s) Patrick, and reserve my rights on the position. I may

fm come back to it in the deposition. 1 don't want to slow ‘
{1 us down here.
11) MR. GILLEN: Exactly.
pa BY MA. ROTHSCHILD:
3) «0 @: Mr. Nilsen, did there come a time when the Pandas book
(14) was donated to the School District?

16): Yes.

Hq «= @: Who donated the Pandas books?

(17) A: 1 don't know,

(ie «=: What?

9 «=A: Edo not know.

0) @: How did you become aware of the opportunity to receive

21} these books?

a a Mr. Bonsell told me that there are individuals that were
24] willing to donate the books.

24] @; When did he tell you that?

 

 

23 A: Sometime in the fall. | don't know when. I don’t

 

 

Page 37 - Page 40 (12)

Min-U-Scripts

Filius & McLucas Reporting Service, Inc.

 
 

Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 13 of 41

 

 

 

 

 

 

 

 

 

e
: Tammy Kitzmiller, et al v. Richard Nilse
Dover Area School District, et al. January 3, 200
OO Page 41 Page 4:
e t) remember. 1) A: Don’t know. ,
fa Q: How did you respond to that offer? tf] 0—- G: Where are the books now?
«© At: I will accept any free books any day of the week as long 3) «At Don’t- know.
#} as they are appropriate. 9G: Mr. Nilsen, if you could turn to page five of the Answer
§ @: Did you ask him who was donating the books? 15) which was P-2.
=A: No. te «= MR. GILLEN: Eric, are you going to break?
6 - @)  @ Have you heard anything from anybody in the community tf «© MR. ROTHSCHILD: We can break after this question.
| about who donated the books? «0s MIR. GILLEN: Fine.
mo OA: No. te] «= As: Page five?
no} «= GQ: Have you been asked by members of the community to find 110 BY MR. ROTHSCHILD:
[#1] out who donated the books? tty) «= Qs Yes, of P-2.
[tq «© A: Tam sorry. Ask that question again. 12] Ar Yes.
e ta] @: Has anybody in the community either directly to you or 114) GQ: Do you see at the end of the paragraph beginning there
(14) in public School Board meetings indicated their interest 114] is no DASD Intelligent Design policy, there is a
118] in knowing who donated the books? 19] statement that the Pandas book is located in the school
ep) A Yes. , i Library?
17) @: How have you responded to those requests? 17 A: Oley.
e (1a) Az I didn’t respond. 11) «=: Do you see that?
(i @: Is there a reason you think the community shouldn'tknow lig A: Yes.
[2] who is donating these books that have created a 4) = GQ: Do you know whether that is true?
{21) controversy? fe) «A: That's where it's headed. 1 don’t know where it
j= MR. GILLEN: Objection. Foundation, speculation. re} currently is due to the fact that it is waiting to be
123} BY MR. ROTHSCHILD: ga) stamped. Whether it is physically housed at this exact
(24) 9G: You can answer, Mr. Nilsen. 24) second, I don’t know where it is. But that is where it
® es} A! Lam sorry. The question again? ea is going to. ,
—— Page 42 Page 44
1) : Is there a reason that you have not tried to satisfy the (t} @: How do you know that’s where it is going to?
f] community's interest in finding out who is donating fe] A: Because I directed it to go there.
B) these books that are causing controversy in the t= GQ: When did you direct that the books be put in the schoot
e f4] community? 4) library? .
&} A: I don't want individuals who donate free information, 5) A: Late December 22nd or 23rd.
16] free materials, free books to be the center of a 1  @: Where were they before then, before you gave that
[) controversy. . f direction?
1 «6 GQ: Do you know where the books were purchased from? 1 «= As: Don’t know.
@ MR. GILLEN: Objection. Again, speculation. 14 = GQ: Did you have an understanding of where they were?
e ti) A: E will phrase it this way: We, the District, purchased to) A: Either with the high school principal or with the
(1) five books. I'm familiar or at least saw at one time {11} storage facility in the science room.
(tq where they were purchased, those five books. Sixty, no. (12 «GQ: Why did you give that directive?
3] @: Where were the five books purchased from? 300 A: Which directive?
[s4} A: I don’t remember. ta) «Gt To piace the books in the school library.
1] GQ: What were the circumstances causing the District to. 5} At Mr, Baksa and | on the 22nd and 23rd came across the
(16) purchase the books? (16 fact that in the high school libsary, there is an
e 7] A: Mr. Baksa wanted copies for review, and community 7) evolution, Creationism center where the high school
{18} members wanted to review copies. [18) Librarian has fifteen to twenty books on this topic.
119) @: Did Mr. Bonsell indicate whether he had any role in the tt) «0 We were there for a high school student council
[20] donation of the books? (20} breakfast and were talking to the librarian.And the
2) A: No, he didn't teil me. 2) ibrarian communicated to us that she had a whole unit
. a @: What was done with the books when they arrived at the (24 on the Creationism, evolution of the theories debate.
e (23) school? (23) And therefore, Mr. Baksa and J agreed, and I directed
: ta) A: Mr. Bonsell gave them to Mr. Baksa. i24} the best place for the books would end up being with all
es Q@: What did Mr. Baksa do with them? (28 the other books that the District has on that topic.
Filius & McLucas Reporting Service, Inc. Min-U-Scripte (13) Page 41 - Page 44
Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 14 of 41

Richard Nilsen
January 3, 2005

Tammy Kitzmiller, et al. v.
Dover Area School District, et al.

 

Page 45
(y —-Q: Ts it your intention that's where the books will remain
f throughout the school ycar?
pl Az Housed there. 1 cannot tell you whether the librarian
) may end up by request of a teacher bring whatever books
(5) in the library to the individual classroom. But they
fg] Will be signed out and remain in the library as a home.
m MP. ROTHSCHILD: Do you want to take a break?
i) «© MR, GILLEN: Yes.

im (A recess was taken from 10:35-to 10:43.)
hg
[11] AFTER RECESS
4
(*3) BY MR. ROTHSCHILD:
14 «Ga: Good morning, Dr. Nilsen, what newspapers do you readas

115) a general practice?
1 As Lf ] might before that question, let me clarify two

(17) additional questions you had prior to the break.

11 «= GQ: Sure.

{18} Az When I ended up saying they are not in the library, my
24 comment was the fact they are not on the shelves. We

jet) are waiting for a stamp to be made. The donations are

pa physically in boxes within the office of the library.

(23) Secondly, your question as it relates to a teacher

a bringing out the book, that would be housed within all

js} the other books that are in that topic. It wouldn't be

Page 46

It} just one individual book leaving the library.

a A lot of teachers in units — for example, when I

P) taught Indians, I would actually have ail of the Indian

4 books being taken out into my classroom so the kids

i) could end up taking them. , ,

a The only time this book would be taken out of the

m library would be in the context of the whole group of

19 books being taken.A teacher wouldn't take an

ij individual book.

(oy Q: 1s the decision about whether to take that whole group
113) of books and bring them to a classroom being left to the

[iq teacher's discretion?

tg) «As Solely. The whole curriculum matter instructional piece
114) is the teachers discretion.

115} Q: When you say the whole curriculum matter, you are
8 talking about this curriculum matter that is the subject

117] of this lawsuit? ,

(18) At ] am talking beyond this issue as well.

a4 «= (Deposition Exhibit P-8 was marked.)
fen) BY MR. ROTHSCHILD:
i  @: So why don't we — to make sure the record is perfectly

rea} clear, ] am going to mark — [am going to give you the
ra document we have marked as P-8 which is the — do you
jes) recognize what this document is?

0A: Yes.

Page 47
bp} | GQ: What is it?

~~ As_ It is the Biology I Planned Course/Curriculum Guide.

fp) @: Could you turn to the pages in the document which is

4) fairly near the end describing the curriculum item that

| is the subject of this lawsuit?

i At Could you show me what page you are talking about?
(1 @: They don’t look like they are numbered.

fe] «0A: Can you then show me?

i «0 G: They are one, two, three, four from the back.

poy As T have it.
1) @: Do you recognize the subject matter at the very bottom
(12) where it says students will be made aware of
(14) gaps/problems as the language added to the biology
{14) curriculum through the Cctober 18th resolution that is
[18} the subject of this lawsuit?
te] A: Yes,
p7) Q: Is it your testimony that how this subject matter is
[ay taught in the classroom is left to the discretion of the
[13 individual teachers?
pq CA: Yes and no. Yes, it is with the exception that the
1) teachers ask for additional direction.
ez] «=: And what was the result of their request for additional
px direction?
pq A: The four paragraphs that they are required to read. So
125] the only change from last year to this year's
Page 4+—~
{1) instruction is these four paragraphs.
a Q: Just so that the record is clear on that subject —
= MAR. GILLEN: That press release policy is Exhibit
4) 1 to the Answer if you care to reference it.
i | MR. ROTHSCHILD: I think I will mark it as a
i separate exhibit, but thanks.
i] «(Deposition Exhibit P-3 was marked.)
ie BY MA. ROTHSCHILD:
tj «SG: Tam going to show you a document marked P-3. Do you
[10] recognize that document?
(1A: Yes, Ido.
ty «= GQ: What is that?
113) At Dover Press Release.
nq & And is the statement that you were referring to in your
115t answer before that the teachers are required to read, is
{19 that found in this press release?
tt] «OA: Yes.

pa @: Where does that begin?

i ~~ As The last two paragraphs on the first page.

j= G: Where does it end?

gij A: The first (wo paragraphs on the second page.

rq @: And teachers are required to read that paragraph?
pa) As Yes.

a} ««@: Beyond reading that paragraph, do teachers have

25] discretion as to how to teach the subject matter that

 

 

 

 

Page 45 - Page 48 (14)

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Case 4:04-cv-02688-JEJ Document 2

16-6 Filed 09/28/05 Page 15 of 41

 

 

 

Tammy Kitzmiller, etal, v. Richard Nilses
Dover Area School District, et al. January 3, 200!
Page 49 Page 51

(1) is ~- that was added to the biology curriculum through
4 the October 18th resolution?

pO: Yes.
4) Q: Totat discretion?
f) =A: Total.

is} «=6@: Am I correct in understanding your testimony that
(7} teachers are not requited to bring the Pandas book into
(a their classroom when they teach this unit?
(3 0©=0 A: That's correct.
fiq9,-—s«Q: Is anybody else besides teachers allowed to take those
{\t) textbooks, the Pandas textbooks out of the library?
124A: Students.
ia]: Mr. Nilsen, when | asked you about your prior
[14] experience, you talked about serving as Assistant
15} Principal, Principal, Assistant Superintendent and
16) Superintendent in various school districts.
117) In any school districts that you have been an.
(1@). administrator in, has the subject of Intelligent Design
(19) be part of the curriculum?
reo) «= A: No.
21) @: What about the subject of Creationism?
ais A: Not that I'm aware of.
ey = G:: If ] extend that question to any school district in
fq) which you have taught, would your answer be the samc?
(25) A: Yes.

1) BY MR. ROTHSCHILD:
‘] «©: Have you ever communicated to any newspaper that you
have been misquoted regarding the subject of the biology
4 curriculum?
&} MR. GILLEN: Obicction, relevance.
f@ 3=0 A: No.
" BY MA. ROTHSCHILD:
@ «= @:: Have you ever communicated to any newspaper that any
other individual has been misquoted regarding the
iq) biology curriculum?
it) MR. GILLEN: Objection, relevance.
02) A: Sorry. Could you ask that question again?
(t3) BY MA. ROTHSCHILD:
(4) G;: Have you ever communicated to any newspaper that any
118] individual besides yourself was misquoted or
(16) misrepresented in the reporting about the biclogy

17 curriculum?

v)6|CU MR. GILLEN: Same objection,

tw =A: Housed within the press release is a sentence that says
(29) many statements have been personal statements and

(21) opinions from the media, community members and Board
23) members which are completely inaccurate or false. That

23) has been communicated publicty.

4) BY MR. ROTHSCHILD:

fs) Q: Is that the only way that that has been communicated?

 

Page 50.
ty @: What newspapers do you read as a regular matter?
i] =A: The Patriot News and the two York County papers.
B} @: Do you read the two York County papers everyday?
4) A: l read the — ] have a secretary pull all related
[5} educational articles.
(@}  &: Do those clippings include the articles that have been
7) written about the biology curriculum issue during 2004?
OA Yess.
1) «=: Have you ever asked any newspapers to correct anything
i1q] that has been reported about the biology curriculum?
1117. MR. GILLEN: Objection, relevance. Answer,
[12] please. I'm sorry.
i330 «A: | have asked them to read the press release on the
114] District web page.
19 BY MR. ROTHSCHILD:
te} «=; Other than that, have you ever asked the newspapers to
[17] correct anything reported about the biology curriculum?
1a) MRL GILLEN: Same objection.
fe) A: } don't remember.
freq} BY MA. AOTHSCHILD:
fe) «= G: Have you ever asked them to retract any item reported
[ea about the biology curriculum? :
t))0— ss MA, GILLEN: Objection, relevance.
40 A: No.
fe

 

 

Page &2
1 A: Yes.
f] «@: Are you aware of anybody else involved with the biology
) curriculum, School District employes or School Board
#] members communicating to any newspaper that they have
i] been misquoted or their statements misrepresented?
i) «= MR. GILLEN: Objection, relevance.
ff «=A: Tam sorry. Ask that question again.
im BY MA. ROTHSCHILD:
™ 8 @: Are you aware of anybody else involved with this biology
@ curriculum issue, School Board members or employes of
{1} the School District communicating to the newspapers that
tq they misreported something or misquoted them?

foaa = As: Yes.

(444 Q: Who has done that?

(1 A: Mr. Bonseil and Mr. Buckingham.

jva GQ: What statements reported in the newspaper articles —
(17) A: ] can't speak to that.

13} MAR, GILLEN: Objection, relevance.

(a BY MR. ROTHSCHILD:

eoq)06=—- @: How do you know that they communicated that to the

f21) newspapers? .

fe A: They individually told me that they had talked to
[23] reporters about their misstatements and

4} Misrepresentations.

rs) «MR. GILLEN: Whose misstatement and

 

 

 

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(15) Page 49 - Page 52
 

Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 16 of 41

Richard Nilsen
January 3, 2005

Tammy Kitzmiller, et al. v.
Dover Area Schoo! District, et al.

 

 

Page 53
(} misrepresentations?
fA: Mr. Bonsell’s and Mr. Buckingham's.
MR. ROTHSCHILD: Can we take a short break?
4) (MIA. GILLEN: Certainly.
(A recess ‘was taken from 11:00 a.m. to 11:10 a.m.)

AFTER RECESS

(Deposition Exhibit P-4 was marked)

BY MR. ROTHSCHILD:
Q: Mr. Nilsen, I am going to show you a collection of
[12] newspaper articles that we have marked collectively as
pa Exhibit P-4,] am not representing that this is every
14) article written on the subject of the Dover biology
9 curriculum, but it is 2 large collection of articles
[1@) primarily from the York Dispatch and the York Daily
17 Record.
7 «= MR. GILLEN: If I can, just for the record, I am
ti] going to object to the use of the newspaper articles to
RO) question him on the ground that they are all hearsay,
21] and statements contained therein are hearsay. But go
pz ahead.
zs} MAR. ROTHSCHILD: J disagree with your objection,
fq but we will proceed.
(251

 

Fage 54

ty BY MA. ROTHSCHILD:

= @: Mr. Nilsen, if you could turn to on the very first page

of this collection, there is a June Sth, 2004 article

4] from the York Dispatch. It contains near the top of the

5] document some statements attributed to you.

(«Were you aware that the newspaper reported these

[7 statements?

A: Which statements?

pm Q:: Beginning with but Dover Area Superintendent Richard
[1¢) Nilsen and continuing the next four paragraphs through
[11] options and theories.

1) MA, GILLEN: For the record, I object to all the

{13 statements on the grounds that they are hearsay.

fa) As | am sorry. What is your question?

ps BY MR. ROTHSCHILD:

ye, Q: Were you aware that the newspaper reported these

[17] statements made by yourself?

ti) A: No.

19 «©: Did you make the statements feported in this newspaper?
ey) A::_ T remember the first three. 1 don’t remetaber the last

[21] one.

22 Q: So you don't remember — do you remember being asked
(2) about the evolution versus Creationism debate? ‘
ey OA: Yess.

2 @: What did you understand that to mean, that question to

 

Page 55
Ut] mean?
mw A: Which question?
fs G: You said you do remember being asked about the evolution
4] versus Creationism debate?
is} A: No.1 didn’t say I remember being asked that.
]  G: Were you asked about the evolution versus Creationism
{7 debate by this reporter?
m0 OA: Yes.
1 «GQ: What did you understand to be meant about the phrase
[ty evolution versus Creationism debate?
11) A: As I said before, 1! don’t remember this specific
(14 question.
a: Let's clarify. You do remember being asked about the
(14) evolution versus Creationism debate by this reporter?
[1s A: No,I do not remember that question.
ne G: Do you remember being asked by any reporter about the
[\7] evolution versus Creationism debate?
1g A: No, ] do not remember that specific.
iq «= @: Do you remember any questions by the reporters about the
rq) issue of cvolution versus Creationism?
fe) A: No,1 do not remember that.
Ez) @: Do you remember being asked any questions by reporters

jteq during the June, 2004 period about the teaching of

(24) Creationism?

ys} A: No, 1 do not remember that. ~
Page eon
iy Gt: If you would, turn to the next news article.

fa A: Page theecc?

iG: Yes, It is the news article June 9th, 2004 also from

#) the York Dispatch.

ij A: Okay.

i @t About I think it is five paragraphs down, the paragraph

i begins a recommendation on the book. Do you sec that?
BA: Yes.

tm  G@: Do you see the second sentence of that paragraph states
[tq] Buckingham said the committee would look for a book that

[tt] presented both Creationism and evobution; do you sce

(tq that?

ta) Yes.

114) @: Were you aware that the newspaper reported that

13] statement by Mr. Buckingham?

pe) A: No.

17) @: Do you remember Mr. Buckingham making any statements
tte about the curriculum committee looking for a book that

1] presented both Creationism and evolution?

pol 4 A: F.don't remember that, no.

tt : Do you remember him making statements like that at any
feq time?

wy =A: No.

[24]. @: Do you remember Mr. Buckingham ever bringing up the
2 subject of Creationism at any School Board mecting?

 

 

 

Page 53 - Page 56 (16)

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Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 17 of 41

Tammy Kitzmiller, et al v.
Dover Area School District, et al.

Richard Nilses
January 3, 200!

 

 

Page S?

1) A: Not chat] can remember.

@ @ Doyouremember any other School Board member bringing
®) up the subject of Creationism at any School Board

4) meeting?

® A: Not that] can remember.

1 §6©— SQ: If you can turn to the next page.

m™ A; (Fitness complies.}

ia «©: Do you see there is a paragraph which begins with the

( words Assistant Superintendent Michael Baksa?
[199 A: Yes.
[117 Q: And two paragraphs down from that, the article reports
(14 that Mr. Baksa said that teachers may make reference to
13] Creationism in class. Do you sec that?
(4) OA: Yes.

08 @: Were you aware that —

te} «=o MIR, GILLEN: Objection, hearsay.

wi BY MA. ROTHSCHILD:

a) «= GQ: Were you aware that the newspaper reported that

[1g] statement by Mr. Baksa?

fe A: : I don't remember that, no.

fy =©=6©.: Do you know whether Mr. Baksa made that statement?
2] = At 1 don't remember that.

a) = @: Do you remember Mr. Baksa ever making any statements

4) about teachers making reference to Creationism in class?
es A: No,I donot.

 

 

Page 58

fh) @: Would you turn to the next article which is a June 9th,

ta 2004 article from the York Daily Record? :
BOA: CWimess complies.)

4) «©: Do you sce at the bottom of the paragraph — it reports
5) Board President Alan Bonsell disagreed saying there were

i only two theories (Creationism and cvolution) that could

f possibly be taught. Are you aware —

m=O. GILLEN: Objection, hearsay.

i BY MA. ROTHSCHILD:
tq) @: Are you aware of the newspaper reporting that statement
[11) by Mr. Bonsell?
12) A: Ido not remember that, no.

t'aq—-s G@: Do you remember Mr. Bonsell making that statement?
4) A: No, I do not.
13) @: Do you remember Mr. Bonsell making any reference to

18) Creationism at any time in a Board imecting? .

17 A: Ata Board meeting, 1 do not remember that, no.

tq) MAR. ROTHSCHILD: Pat, as we go through these

(19 articles, you can have a standing objection to hearsay.

(2) 1 don't agree with it, but you won't have waived it by

et] not making it each time.

teq0s«MARR. GILLEN: Okay.

fea BY MR. ROTHSCHILD:

4 «=. @:: Could you turn to the next article which is a June 10th,
{28] 2004 article from the York Daily Record?

Page 59
i} «=A: Witness complies.)
1 ©: In the third paragraph, it says during this past Monday
3) night’s Board meeting, Board members Alan Bonsell, Noel
#) Wenrich, and Buckingham spoke aggressively in fair of
(@ have a biology book that includes creation as part of
9 the text.
(j Were you aware that the newspaper reported that?
I) As No.
i) «= @:: Do you recall any of those individuals speaking in favor
[10] of a biology book that includes theories of Creationism
[11] as part of the text?
m3 260 OA: No. .
i133 + «Q: Could you curn to the article, the June 14th, 2004 York
(14) Daily Record article?

19 =A: Are these in order?

tie} «= GQ: ‘They are in the chronological order, yes.

7) A: Okay.

tia} «= Q:_: In the second paragraph, it is reported that at Monday's

(19) School Board mecting, William Buckingham said as part of
[29 a search for 2 new biology book, he and others are

2) looking for one that offers balance between Christian

[2] views of creation and Darwin's Theory of Evolution.

0 Were you aware —

4) As Thatis notJune 14th.

 

ys) MIR. GILLEN: He is looking at the second piece.
Page 60
ft) Turn the page.
2 BY MR. ROTHSCHILD:
fm = G: Sorry about that.
) «= As: There's two 14’s.
i) @: Do you see the second paragraph?
))60OlC«A: Yes. /
m @Q: Were you aware that the newspaper reported those
f} statements by Mr. Buckingham?
fe) A: No. /
11 = GQ: Do youremember Mr. Buckingham making those statements?
1} A: No.
tq = @: Do you have a personal understanding of what is meant by

(13 the term Creationism?

(14} =A: Yes.

tig «= G: What is your understanding?

f1q)0=—s A: My understanding is creation refers to the Biblical
117) account of the origins of Life.

it «=: Anything else?

ca OA: No,

go =: Do you know that to be a scientific proposition?
cy) 40 A: I do or de not. I have no comment on that.

24 «© G:_:- You don’t have an understanding?

(2a «= A: No.

tat = @:_ In the'same article two paragraphs down, the paper

2} reports that Mr. Buckingham said this country wasn't

 

 

 

 

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(17) Page 57 - Page 6(

 
 

Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 18 of 41

 

 

 

 

 

 

 

 

 

 

Richard Nilsen Tammy Kitzmiller, et al. v.
January 3, 2005 Dover Area School District, et al.
Page 61 Page 63
tt} founded on Muslim beliefs or evolution. He said this 1) At I don’t believe that. 1 wouldn't expect students to be
ia country was founded on Christianity, and our students i) taught as such. roe
1} should be taught as such. py «= G:: Was there any reaction to this statement by
4 Were you aware that the paper reported that #4] Mr. Buckingham by anybody there at the meeting?
5] statement? is) Az 1 don’t know whether there was or was not.
«= A: Pm aware of the context, not the specific verbiage. #} Q: Could you turn to the article from the York Dispatch
7G: Explain what you mean by that. 1 dated June 15, 2004 entitled Church State Issue Divides.
1) «A: Meaning I am aware of the fact that the paper reported 3) If you can turn to the page — the second page.
— that he made comments associated with Muslim beliefs and | «= A: O¥itness complies.)
(10) Christianity. But as far as those specific words, | {19 @: Five paragraphs down or the fourth full paragraph there
it) don’t remember those specific words. {11] is a paragraph that says nearly 2,000 years ago, someone
0G: Okay. Did you actually hear Mr, Buckingham say anything 112} died ona cross for us. Shouldn't we have the courage
113] on the subject? [13] to stand up for him — attributed to Mr. Buckingham.
(4) A: Which subject? ti4] Were you aware that the paper reported that
1 @: The subject captured in those words, if not the specific (15) statement?
[16] words. ne) 6s As No.
7) A: Which subject? There's a number of subjects. 17% @: Do you know whether Mr, Buckingham made that staterment? ~
{18} @: The subject of Muslim belicfs and the country being Ar Yes.
1 founded on Christianity? (t= @: When did he make it?
pos As J. am sorry. The question again? po) A: That, [ don’t remember.
et} @: Did you ever hear Mr. Buckingham make statements to that i) G: Was it ata Board mecting?
py effect? [27] «=A: Yes.
py A: Yes. (za) «Gt What was being discussed when he made that statement?
pq GQ: Can you describe the circumstances in which he made 4} A: 1 don’t remember.
(25) those statements? ) -G: Doyou remember whether the biology curriculum wasbeing -
Page 62 Page Fw
11 As No. [i] discussed?
qs G@:- Was it at a School Board meeting? A: My recollection is that it was not being discussed at
BOA: Yes. : @) that time period.
#) Qt How was it that you came to hear what was being said? 4) —- @:_ But you have no recollection of what other subject
m As He said it at a School Board mecting. {5) matter was being discussed?
tq 0G: _ But you don’t remember anything else about the 1) 0A No.
fm circumstances in which he said it? , fm «-@: The next paragraph says that Board members Alan Bonsell
OCA: No. (&} and Noel Wenrich agreed with Buckingham saying
tm —@: Did you respond to that in any way? 14 Creationism should be taught to balance evolution.
po =A: No. , 119) Do you remember Mr. Bonseil or Mr. Wenrich making
1 © Q:_Do you agree with those statements? {v1} statements about Creationism being taught to balance
14 «© A: Which statements? [12) evohition?
(tq © @: The statements about this country wasn't founded on 1) At No.
i147 Muslim beliefs or evolution. This country was founded , [4] GQ: Mr. Nilsen, do I understand you correctly that not
[1 on Christianity and our students should be taught as [15] withstanding the fact that there are many articles
[1 such. (1 during this June period about discussion about teaching
117) Az; Housed within that are four or five different [#7] Creationism, you have no recollection of the subject of
{16} components. 1 do not know whether this country was {18} Creationism at any School Board mecting?
(13) founded or was not founded on Muslim beliefs. | do not 1A: That's correct.
jeo) know whether this country wasn't founded on evolution. joo} «GQ: _ Have the School Board members expressed to you in any
21} This country was founded on Christianity? 21] other setting their desire to have Creationism taught in
pa =: - You agree with that? [2q) the public school?
pa A: No. . eq) A: No. Exact opposite.
aq) 4G: What about the statement our students should be taught j24] «Gt What do you mean by the exact opposite?
(25) a5 such? jes} «At They don’t want the origins of life taught at all.
Page 61 - Page 64 (18) Min-U-Script® Filius & McLucas Reporting Service, Inc.
 

Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 19 of 41

 

 

 

Tammy Kitzmiller, et al v. Richard Nilse1
Dover Area School District, et al. January 3, 200!
Page 65 Page 67

U) Creationism speaks to the origins of life. If you note

(4 as you highlighted, the planned course, the Board

(| adopted the section that says origins of Life will not

H) be taught.

 @: Do you understand Intelligent Design to have any — to
(} involve at all the issue of the origins of life?

{7 A: Fm not that aware of the theory.
18) G@: You don't know one way or the other?
m A: No.

{19 «=: During 2004, was the District in the process of

[11] purchasing a new biology textbook?

[10 A: Yes.

3) @: Have you been involved in the purchase of other

{14} textbooks besides the biclogy textbook?

090A: Yes.

its] Q: What is the typical process for selecting and purchasing
[t7] a new textbook?

{tq} «=A: ‘The teachers make a recommendation to the Assistant
{16} Superintendent.The Assistant Superintendent makes a

fe} recommendation to the curriculum district committee.

(21) The district committee makes a recommendation to the

2) district board committee, and the district board

[23] committee makes a recommendation to the full Board.

4 @: That is the same process we went through for developing
f28} curriculum?

tt} @: Did Mr. Baksa ever tell you that he had been instructed
f2) to lock for other textbooks?
9) «= A: 1 don't recollect him teliing me he was looking for
4) other textbooks. :
g @: Bo you know whether the Board on their own, the Boardof
fet the Curriculum Committee or individual members of the
tf Board looked for other textbooks to use rather than the
8) Miller Levin book?
pm A: [am not aware of that, no.
(0) GQ: Mr. Nilsen, can you look back again at Exhibit 8 which
tt} is the biology curriculum —-

12] A: (Witness complies.)

3]  Q; — to the same pages that we were looking at before?
4} A: OVitness complies.) :
15} Q: Itis about four pages back.

(6) MR. GILLEN: it is four from the back.

7] A: Lhave it now.

[18 BY MR. ROTHSCHILD:

ts] Q: For the subject matter that is the issue in this

(2) Litigation, the language involving gaps and problems and
1] Intelligent Design, it states that the instructional

22] strategies, learning practices, activities and

2a] experiences will be lecoure; is that right?

Ra] A: Yes.

 

. Page 66
) «=A: Yes, sir.
@ Q: Did the teachers make a recommendation in 2004 for the
(4 purchase of a particular biology textbook?

4) |S Yes.

&)  @: What was that?

tj) «=A: The Princeton (sic) Hall when it was adopted in August,
f Miller Levin.

ft} 4«=- G:: When did they make that recommendation?
=A: - They made that recommendation in 2003.
ti)«=—s G::: Did the Assistant Superintendent accept that
It} recommendation? -
4A: Yes.
3) «= @: Let me back track. When in 2003?
4} =A: The Spring of 2003.
115) G: The Assistant Superintendent accepted that

(18 recommendation?

7A: Yes.

ue) &: Did the district curricuham committee accept that

fk] recommendation?

a] «=A: I can’t speak to that. [ wasn't there.

py) = G@::_ Did the Board curriculum committee ever instruct the
fq] district or any employe of the district to look for

(23) other textbooks?

4) As I can’t speak to that, I wasn’t in the mectings.

fe &: You are not aware of that otherwise?

 

 

Q: What will the teachers present in that lecture?

Page 68
1) A: Going back to 2 conversation I had with you prior, they
f have within the context of what is outlined here full
RB) authority to teach whatever they so choose housed within
4] this planned course.
6 «They requested on November 24th a followup and
(€] explanation of how to teach what is under the unit and
7] what the Board adopted and were therefore given those
(@) four paragraphs. Beyond lecture, what that exactly
@) means, 1 didn’t write this so I don't know what they
(19) were speaking of.

i) GQ: Who did write that?

tq A: The teachers in conjunction with Mr. Baksa.

3] «=: Wrote the statement lecture?

(4) A: Yes. .

ng)=- GQ: But beyond reading the statement, they can lecture

[1¢ however they please?

7} A: Yes, within the context of what is there meaning the
(1a) unit —- they can’t lecture whatever they want to.An

I's] example would be they can't go off and start talking

fq) about World War II because that is not the unit.

fet} ©: Fair enough. You said that the four paragraph statement
fea there required to read was prepared in response to their

[2a] request for guidance?

fe4) As Yes.

 

fe} 9: Other than — let me withdraw that for 2 moment. Who

 

 

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(19) Page 65 - Page 6!
 

Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 20 of 41

Richard Nilsen
january 3, 2005

Tammy Kitzmiller, et al.
Dover Area School District, ¢t

 

Page 69
(] prepared that statement?
@ A: Mr. Baksa in conjunction with Board members and
Bi teachers.
4} = @: - Other than providing the teachers that statement which
t@ they are required to read, have the teachers been given
fe) any other guidance about how to present this unit?
™ A: Yes.
tf «- GQ: What other guidance?
) —CA:: If any student brings up the question of either any
{19 other Creationism or any other origins of life, they
[4] have been directed not to speak to that, but to give
{1q that information and that question directly to cither
{13 their parents and/or their own research.
4 GQ: Let me make sure I got that right. If any student
(19) brings up either Creationism or origins of life, they
[6] are directed not to answer, but to instruct the students
(17) to ask their parents or do their own research?

v.
al

 

1] A; I didn’t want to be sitting in a meeting with you across
(2] the table in a legal suit.
«= Q; Is that the only reason?
4) At I believe it is a topic of discussion that should be
i} discussed with parents, not the School District.
i) 0G: What is it about Intelligent Design which is part of the
f school’s biology curriculum which makes it —
we) MA. GILLEN: Objection, foundation,
19) characterization.
[10] 8Y MR. ROTHSCHILD:
i) @: What is it about Intelligent Design that makes it a
112) subject appropriate for discussion with parents, but not
(#3) in the school?
(4) At The school has decided that the curriculum should focus
1) on the Darwinian theory and not focus on other options
[16] due to time constraints.
ry CUG: Is that the only reason — is time constraints the only
[te] reason that the school has decided it should focus on
i119) Darwin and not other options?
po A: We are specifically, as the press reicase says, a
2] standards driven curriculum and only address the
fea] standards.
4] @: What is the purpose of addressing this section of the
4] curriculum if it is not going to be discussed, not part
25 of the standards?

 

[ay A: Yes.
3 Q: Have the teachers been given any other guidance besides
eq) that directive?
fet) A: No.
zz «@; Who gave the teachers that directive?
fs) A: Me.
f) @: How was that communicated?
ey A: November 24th, 1:05, this office, this room.
Page 70
t) «=. Q:: Sitting around 2 tabie?
tf 0s A: Yes.
Bp) @ Who was present for that meeting?
4) A: Mr. Baksa, myself, the Union President, Bill Miller,
1 Past President, and the Science Department.

Q: Did you instruct them how they — how they were required
f to answer any other kinds of questions by students
je) relating to this unit?
m = A: They were instructed not to answer any questions dealing
(19) ‘with the origins of life. Any other questions in
(14, Darwinian Theory or anything else that is discussed is
p24 within their own domain.
ta} 0G: Did you give them any instructions about how to answer
[14] questions about the subject of Intelligent Design?
ng OAt Yes.
16 © @: What instructions were those?
7 At Not to discuss it. Report — any student requesting
[19] that is to immediately go back to cither their parents
(tq or their own research, not 2 topic of discussion.
Q: Why?
A: Why was Mr. Miller the past President?
Q@: No. Well done.
A: I figured at 11:30, you needed it.
Q: Why did you give the teachers the directive not to
(25) answer any questions about Intelligent Design?

20}
Ry
(21
I
te4)

 

1] Ar The purpose is there are individual students that have
rf other opinions beyond the Darwinian. We did not want to
(3) be discrimination. We firmly believe that any
] individual has a right to their own beliefs. We do not
(} Want to be discriminatory.
i} «- We are required to teach Darwin. We are also
[7 required not to be discriminatory.
1 «©: How do you know that there are individual students that
fi have other opinions besides Darwin's?
110) A: | have talked to other students.
1) @: Is it your understanding that the individual opinion
(iq) that these students hold different from Darwin's theory
{19} is Intetligent Design?
tq) MR. GILLEN: Objectian, foundation.

1) A: Could you ask that question, again?
[6 BY MR. ROTHSCHILD:
uy (OG: Is it your understanding that the individual beliefs

118) that these individuals hold different from Darwin's

(19) theory include Intelligent Design?

je) «6s As Some, yes.

py 0 : When did you become aware that students believed in
pa Intelligent Design?

qa) «ss: Since I have been in echication.

4) «2: Mr, Nilsen, didn’t you testify that the first time you

(2) became aware of Intelligent Design was July, 2004?

 

 

Page

Page 71

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Page 69 - Page 72 (20)

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Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 21 of 41

Tammy Kitzmiller, et al. v.
Dover Area Schooi District, et al.

Richard Nilser
January 3, 200!

 

 

Page 73

1) A: lam extrapolating the definition of Intelligent Design.
Did in 1972 someone tell me that they believed in

B) Intelligent Design? No.

@) «= Amn I telling you in 1972, a student communicated

9 to me that they feit there was an order to the universe,

fe) the answer to that would be yes.

m GQ: When the student expressed that order of the universe,
@ he was expressing a religious belief; wasn't it?

m MAR. GILLEN: Objection.
1g =A: No.

It), BY MR. ROTHSCHILD:

(tq «=: You understood him to be expressing a scientific belicf?
1133 A: L-was — or 1 was accepting that he had a belief as a

[#4] number of students separate from evolution.

1): Did you understand those students’ beliefs to be based
{16 on any scientific information?

7) At Poo not sure they understood the scientific information
[#8] behind it. But I have comeé to believe since then that

0s there is scientific information that supports their

im beliefs.

fy) @: How have you come to that belie?

eqs As: In reading.

eq] 0 Q:: What have you read?

ys As: Articles dealing with Creationism, Intelligent Design,
2) Darwinian debate.

 

 

Page 74

1) = GQ: When did you read these articles?

fas A: The past 50 — 45 years.

m  @: When these students expressed to you their view of order
4] in the universe or Intelligent Design broadly defined,

f) did you understand them to be expressing it to you as

[s} something that they thought was assigned of a scientific

[71 contest, or was it something they believed of, a matter

@) of religious faith?

«=A: Without question, scientific.
(aq Q: So in these past 45 to 50 years of reading, did you read
(iq about Intelligent Design?

tz] A: Yes.

na «=: So when you said before that the first time you heard
4) about Intelligent Design was July, 2004, that wasn't

(is) true; was it?

pe) «As Yes, it was, I defined the 40 ycars since July. 1 have

{t7) read since July.

4 «© Q: So no Intelligent Design before July, and all of it

19] after?

po OA Yes.

ei} «©: But you read something different of a scientific content
(24 regarding the issue of Creationism?

2 sA: No. | ended up reading scientific content as it relates
jes} to scientific content.

est GQ: Putting aside what you have learned since July of 2004,

Page 75
(1) did you read anything — any scientific materials
fj regarding the issue of Creationism?
B) «A: Yes. .
#4} GQ: What materials have you read?
1) 0 A: | can’t quote them. I don’t remember.
1s) «©6- G:- They caused you to conchide that Creationism is a
M scientific concept?
) «= MR. GILLEN: Objection, characterization.
i «=A: have not said to you that Creationism is a scientific
[10] concept. What J have said to you is that Intelligent
111] Design is a scientific concept.
112) BY MA. ROTHSCHILD:
13] @: Let's go back to Intelligent Design. You are testifying
(1a) that you have done reading about Intelligent Design
[18] since July?
(i =A Since July.
17]. @: Didn't you answer before when asked you what you have
{1a} done to investigate the subject of Intelligent Design,
[19 that you hadin’t done anything?
pro = MR. GILLEN: Objection to the characterization of
(21} his testimony.
2 A: lam not saying I did an investigation. I am saying ]
yea] read it. Meaning there is 2 difference between
24] researching it, and people end up sending me articles
feo} that I read since that time period.

 

Page 7
I] Qs When I asked you at the beginning of the deposition what
(2) do you understand Intelligent Design to mean, and you
f) said that scientifically, evolution has a design and
#4] nothing else. That was what you gleaned from your
1s] reading?
1 A: Could you read that again, please?
1  @: Lasked you at the beginning of this deposition what do
js} you understand Intelligent Design to mean?
mt A: Correct.
tt = @:_-You said that scientifically, evolution has a design. 1
[1) asked you if you meant had any other understanding about
(12) Intelligent Design other than that, and you said no?
113] A: Correct.
4): That is all you have learned from the reading you have
115) done?
tq; A: Correct.
114 «© @: Going back to the issue of Creationism, is it your
(1) understanding that there is scientific content to the
119} concept of Creationism?
po «© MR. GILLEN: Objection, foundation.
fe) A: lam sorry.] don't understand your question. You are
[22] going to have to explain it more.
[23] BY MA. ROTHSCHILD:
(24) Q@: When youanswered my question about the reading you did,
(25, you said you have done reading about Creationism and

 

 

 

 

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(21) Page 73 - Page’
 

Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 22 of 41

Richard Nilsen
January 3, 2005

 

Page 77

(1) Intelligent Design and the controversy about Darwin?

f= A: Correct.

rm @: What did you mean by the term Creationism?

i} At AsE said before, Creationism | define as the Biblical

(8) reference of the origins of life.

i = Gs: Do you think that — and that is something that is

(7) articulated in the Bible among other places; correct?

10s As: Correct.

mG: Are you aware of any scientific support for that version
io; of the origin of life?
tia) At No.

1%] @: Would you agree as an educator that Creationism should
(13) not be taught in public school science classes?

tay A: Yes.

15 GQ: Why is that?

pe A: Aguillard.

14 @: That is the Supreme Court decision?

tie} =A: Yes.

tig] = @: What do you understand Aguillard to provide?

po © MR. GILLEN: Objection, foundation.

i) =A: That specific Creationism curriculum should not be

22) taught as a planned course.

123} BY MR. ROTHSCHILD: .
pq: Do you have an understanding of what was meant by
25) Creationism in that decision?

Tammy Kitzmiller, et al. v.
Dover Area School District, et al.

 

Page 79
(1) Intelligent Design as.
0G: Which is that evolution was the product of design?
m «OA: Yes.
4] @: The curriculum states that students will be made aware
1 of gaps and problems in Darwin's theory.
i) What is meant by the statement there are gaps and
lf problems in Darwin's Theory?
4 A: Darwin's Theory is a theory and is not based in fact so
te) there are issues with Darwin's Theory.
tio) «= @::: Do you expect teachers to identify any specific gaps or
[11} problems to the shadents?
1 «=A: _I don’t know what they teach.
113): The curriculum item docs not state that there are any
(14) gaps or problems with Intelligent Design.
{15} ‘Is it your understanding that there are no gaps Of
116) problems in Intelligent Design?
1% A: We are not teaching Intelligent Design.
pa) @:_ You say we are not teaching Intelligent Design. Why do
(18) you say that?
pa A: Because they are not.
ty G: The teachers are required to — Intelligent Design is
(22) part of the curriculum, correct?

(|e A: No:

joa): Intelligent Design is identified in the curriculum?
25) A: Yes. Identified, ycs.

 

 

 

 

Page 78 Page 8.

m A: No, (i) Qs And students are to be made aware of Intelligent Design?)
a @ Other than the fact that a Court said you can't do it, m= At Yes.

p! do you have any other viewpoint as an educator about i «—-Q: And teachers are required to read a statement that

#4] whether Creationism should taught in science class? 4) inchades the following paragraph: Intelligent Design is

A: That one trumps everything. {§) an explanation of the origin of life that differs from

jG: If that decision was overturned, what would your opinion fe Darwin's view?

it be as an educator? , m A: Yes.

pm) At Ask the specific question. «© @: And continues it with further reference to Intelligent

86: Putting the Supreme Court decision aside, do you believe pe) Design? ,
119) Creationism should taught in public school science tip =A: Yes.

(11) classes? 4] GQ: Wouldn't you agree that is teaching, Mr. Nilsen?

13 Ar No. tia A: No,

03%  G@: Why is that? (133 @: What do you call that if it is not teaching?

ta] A: Because it is religious in nature. (14) At Making aware.

1s; G@: Why do you believe that? ji «Gt Making aware is different from teaching?

pe] At As alhuded to, my definition of Creationism is a ie) As Yes.

(17) Biblical context, and the Biblical context is religious. 11 —-@: Don't you agree, Mr. Nilsen, that anything a teacher

tay |G: Could you turn to I believe it is Exhibit P — it is the [13] presents of a substantive nature to their students is

[6] one you ate holding in your right hand — P-3 which is (#9) teaching?

po) the press release? pm «=A: No.

ey «= At (Witness complies.) 2) MR. GILLEN: Objection, leading.

rq: Actually before we turn to that, can you explain to me pz MA. ROTHSCHILD: He's not my witness.

ey how Intelligent Design the different from Creationism? 20 MR, GILLEN: You can’t lead.

fj A: Creationism is based on the Biblical context. Pa

25) Intelligent Design is based upon what I defined 5) BY MR. ROTHSCHILD:

Page 77 - Page 80 (22) Min-U-Scripte Filius & McLucas Reporting Service, Inc.
 

Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 23 of 41

Tammy Kitzmiller, etal. v.
Dover Area School District, et al.

Richard Nilses
January 3, 200:

 

Page 81
} @: You draw a distinction between making aware and
teaching?
ft 0 OA: Yes.
4) @: Do you believe the students will be learning as they
&) listen to the statement?
0A: Yes.
mM = Q: So they will be icarning?
fo} A: Yes.

fm = Q: One of the things that the students will be learning is
(10) that there are gaps and problems in Darwin's Theory;
[tt] correct? ,
2} sr Yes.
(13) Q: Burt at the same time that the teachers present that
[tj statement, they will not be presenting to the students
v4) the fact of whether there are gaps and problems in
116} Intelligent Design; correct?
17) A: That's correct.
tt)  Q: So the students will learn that there are gaps and
(i problems in Darwin's Theory, but they will not learn
jo} that there are gaps and problems in intelligent Design?
ey A: That's correct.
23 @: Would you agrec that that is misleading the students?
fey)0—tsi«A: Noo.
4) «= G:: You don’t think the students will be misled by the fact
fs] that they are being told that there are gaps and

 

Page 82
(1 problems in one theory, but there are not gaps and
4 problems in the other explanation?
m A: No.
4} GQ: Thatis not because you believe that there are no gaps
and problems in Intelligent Design; is i? ,

®) =A: That's correct.

«=: You don’t know one way or the other; do you?

f <A: No.

m0. @: The required statement also compels teachers to tel} the

(19) students that Darwin's Theory is a theory and not a

{11} fact; correct?

(13 Ar Yes.

34 «= GQ: Now Darwin's Theory is not the only theory being taught
[4] to students in the Dover Schoo! District; is it?

fs) A: That's correct.

Hey «= Gs: It. is not the only scientific theory?

7} A: That's correct.

118) @: What is the significance to your understanding of
fi characterizing 2 scientific concept as a theory? What
jo) does that mean to you?

py) A: That it can’t be proven in the lab.

ez 0s @:: Anything else?
ft 460A: No. :
fq) GQ: What was the purpose of including that statement in the

) curriculum?

 

Page B3
(yA: Lean't speak to that, | wasn’t involved in the
(4 discussions.
Pp! @: Does the School Board require teachers to tell students
[4] that any other theory is a theory, not a fact?
ts] A: I'm not aware of any.
6} @: Can you explain why evolution is singled out among all
7 scientific theories taught to Dover students as being a
f) theory, not a fact?
A: Again, ] was not involved in the discussions.
(0G: Have you ever made any effort to make sure that students
fit} are made aware that other theories are just theorics,
[12} not facts? :
ta =A: No.
4}: Do you require teachers to make students aware that
(18) there are gaps and problems in any other scientific
[16] theories besides Darwin's Theory?
tt7) =A: No.
(1 «©6 G@: Do you believe that is because al] the other theories
tt don’t have any gaps and problems?

a =A: No.

ey) = Q:_ Again, this is Darwin's Theory being singled out?
4 ~2©~©= «A: I won't use those words, no.

fey)! It is the only one being treated that way?

ay: Yes.

st  Q: In the resolution, it says that students will be made

 

Page 8
i} aware of other theories of evohution including, but not
(2 limited to, Intelligent Design.
3} What other theories are being referred to in that
4} resolution?
m A: Idon’t know.
i) «©. GQ: Are you aware of any other theories of evolution?
7 «= MR. GILLEN: Objection on the grounds the question
1] is ambiguous. You asked are you aware of any other
(9) theories of evolution.
tq BY MR. ROTHSCHILD:
4} «= @: Other than Darwin's Theory and Intelligent Design, are
(2) you aware of any other theories?
19 «= MR. GILLEN: Objection to the characterization of
[4] Intelligent Design.
ps MA. ROTHSCHILD: Fair point. Let me withdraw it.
"5 BY MR, ROTHSCHILD:
14 = @: Do you consider Intelligent Design a theory of
fa) evolution?
ho) A; How are you defining evolution?
fo «= Q:: I will make it simpler. Do you consider Intelligent
2) Design a scientific theory?

pa OA: Yes.

3) GQ: On what do you base that opinion?
fe) A: Scientists that have said it is.

5) Q: What scientists are you referring to?

 

 

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Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 24 of 41

Richard Nilsen
January 3, 2005

Tammy Kitzmiller, et al v.
Dover Area School District, et al

 

 

Page 85.
1) At -Tdon’t have any of memory, but I have read and heard
?) that there are 300 more, and Lehigh University
(@ scientists have stated Intelligent Design is a
4} scientific theory.
&] . G: What do you understand the phrase theories of evolution
{sj to mean in this resolution?
@ A: 1am sorry. The question again?
(s} G: What do you understand the phrase other theories of
fy} evolution to mean in this resolution?
(19) «6 A: Other theories that explain species changing.
y= G: And do you read Intelligent Design to be included by the
[14 text of this resolution as one of those other theorics
13) of evolution?
(4) OA: Yes.
15) @: So your understanding is Intelligent Design is onc of
(18) these other theories of species changing?
7) OA: Yes.
{1s} G: Can you name any other theories of species changing?
im =A: No.
fey 0 G: The statement that the teachers are required to read
21) Mentions Darwin's Theory, and it refers to Intelligent
(24 Design as an explanation of the origin of life, but it
24 doesn't in any way mention the possibility that there
f24) might be other theories.
es Why is that?

Page 86
iy) OA: Tam sorry? Could you —
4 «- @: The statement that the teachers are supposed to read —
gm OA Yes.
4] @: — identifies Darwin’s Theory, and it describes
& Intelligent Design as an expianation of the origin of
41 life that differs from Darwin's view, but it doesn't
(7 indicate in any way that there are other theories of
ig) evohation.
t Why is that?
oq) 06=| A: Missed.
wy =: Lam sorry?
iq) OA: Missed.
137 @: Does that mean teachers are not permitted to describe
4) other theories of evolution?
tt) A: No.
fq G: What is a teacher supposed to do if a student asks her
17] to explain Intelligent Design?
ey) A: As stated earlier, communicate that that is a very good
[1] question, but that they are to designate that to a
f2q parent and/or their own research.
1) : What is the teacher supposed to do if a student asks her
(24. to identify who the intelligent designer is?
3 A: Once again, that is a great question. You decide that
[24] On your own.
1 @: What is a teacher supposed to do if a student asks her

 

Page 87
(1) to identify other theories of cvobution?
tj «=. MR. GILLEN: Objection. Calls for speculation.
pi A: They can cither communicate what they know or
4] communicate that they don't know.
8 BY MR. ACTHSCHILD:
t}  Q: Mr. Nilsen, at the end of the second to last paragraph
7} of this press release, it states school districts are
{9} forums for inquiry and critical discussions. The above
1) statement and the District's revised biology curriculum
[#0) together provide an opportunity for open critical
[1] discussion — the real heart of scientific practice.
240: Who wrote thai?
ny OA: I did.
(4) G: Is that your objective in including this subject matter
1 in the biology curriculum?
a A: First of all, 1 didn’t include it. 1 am implementing
[7) it. So you have to rephrase that question.
ya) Q: And it is your responsibility to implement this policy?
tis As Correct,
t2q «= @: Do you understand that is what is being achieved by this
lei} policy?
pa A: What?
3 © @: Inquiry and critical discussion?
me A: As it relates to the gaps, yes.
es;  @: Notas it relates to Intelligent Design?

Page Pp"
i} )3=0At No.
@ © @: You are not allowing any critical discussion?
OA No.

4) @: You are not allowing any open discussion?

(s) A: Not on Intelligent Design.

1)  @: Again, for the gaps, it is only evolution that you are
I] encouraging open critical discussion about gaps and

(a) problems, not any other scientific theory?

ff) At Because that is the only scientific theory they arc
[iq talking about. Again, in the book dealing with

(1) Darwinian Theory, that is the only thing the standards
[12] are requiring us to teach. In the book, there are

[13] sections on it that talk about the gaps and the

(14) problems.

13 «= All we are doing is telling them to follow — the

[16] state requires us to do — to follow what is in the

117} book.

He} @: Bur there's a lot of other scientific theories that the
(19) state standards require you to teach; correct?

(24 A: lam sorry?

i): There are a Jot of other scientific theories that the
(22) state is requiring you to teach?

teat «=A: Yes.

4): And you are not explicitly encouraging open and critical
128} discussion of the gaps and problems in those theorics;

 

 

 

 

Page 85 - Page 88 (24)

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Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 25 of 41

Tammy Kitzmiller, et al. v.
Dover Area Schoo] District, et aL

Richard Nilsen
January 3, 2005

 

 

Page 89
H} are you?
fo A: Oh, yes. We would want open discussions on every
pt subject.
4) @: Other than Darwin's Theory of Evolution, you are not
(3 explicitly stating it and telling the students to be
i] aware of gaps and problems in those other scientific
f theories?
i) MR. GILLEN: Objection, characterization.
i] 4 «©6 A: Have we formally put it in writing? No. Have we had it
[10] as a practice? Yes.
ay BY MR, ROTHSCHILD:
tq «=: And that practice has existed for how long?
113, A: Since the beginning of Aristotle's education.
114] @: That practice was in effect in the Dover School District
[15] during all the years you have been Assistant
fe] Superintendent and Superintendent?
[7 0 OA: Yes.
tie) @: And that practice was in cffect and something that could
(19 be done for Darwin's Theory before this whole issue
20] arose; correct?
ey = A: Yes.
2 Q: But nevertheless, you are implementing a policy that
(23) requires that it be explicitly pointed out to the
{24} students only for Darwin's Theory of Evolution?
pa =O MR. GILLEN: Objection to the characterization.

 

Page 91
tq © @: Is that the only reason that you forbid open critical
tq discussion of Intelligent Design?
Bp} 0=soA::- Yes. Beyond the time frame as noted earlier.
4) G@: Have you told the teachers that that is why you are
&) forbidding open and critical discussion of the topic of
1 Intelligent Design?
fm MR. GILLEN: Objection to the characterization of
the policy.
=} A: They communicated that was their concern.
[19] communicated the directive to protect their concern.
[tt] BY MR. ROTHSCHILD:
qs G: ~ Did you tell them that was why you had issued that
[13] directive?
(14) A: Phrased to the extent where they were concerned about
[i] the liability issue, and ] then said your directive to
[16] cover you in that case then is not to discuss it.

Jn) Q: You said that to them, this is to cover you?

fhe) = Ar: Yes.

ts @: Who did you say that to?

fo) A: The individuals in the November 24th meeting.
2) «=—- Gr Is that the entire science faculty?

jea—tséiA: Yes.

fe - @:: Did anybody outside the District participate in the
[24] creation of the press release?

2) A: Define outside of the district.

 

Page 90
} A: Am E following what the Board has directed me to do?
B Yes. :
B) BY MA, ROTHSCHILD:
#} Q: Do you have an understanding of why the Board has
6) singled out evolution among all the scientific theories
[} taught to the Dover School District students —
™@ ~=sOA: No.
«= @:_: Let me just finish my question.
m= CAs Sorry. You paused.
wo; OQ: — for having gaps and problems?
ny =A: No. ,
4 «= G:: What are teachers supposed to do if a student reads
13] Pandas and asks questions to the teacher about the book?
v4) A: Y refer back te what I said originally. If it is a
(19 discussion dealing with Intelligent Design, the answer
['@) is go research that on your own additionally and/or ask
[17] your parents or whoever you so choose. It is not a
pa discussion item.
0G: Why are you forbidding open and critical discussion
{2 about Intelligent Design, but not any other theory of
f21] evolution?
2 «=A: The concerns of the teachers.
23} «GQ: What concerns of those?
fa) ~~ A: They believe they are liable if they open that
(2) discussion.

 

Page $2
I} @: Anybody not employed by the School District or members
[4 of the School Board.
Bp} «OA: No.
a} 06. Qt Was any counsel involyed?
) Az As employed by the District? The answer is yes, counsel
( was involved.
ff G: Was that Stock and Leader?
| OA: Yes.
GQ: Could you rurn back to page six of the Answer which was
fq Plaintiffs Exhibit 2?
Uy =A: (Witness complies.) I am sorry. 1] am going to
[12] interrupt. For purposes of my day, i was told you were
[13] going to end at twelve o'clock. Are you looking further
fia) out than that?
fy «©: I thought we would go to 12:30 and take an hour break.
he) | MR. GILLEN: Yes.
[7] BY MR. ROTHSCHILD:
te) @: Do you recall earlier in the deposition | asked you
(1s) about that statement of the valid and clearly secular
[20] purpose?
ei) At Which statement?
2) @: In the first full paragraph of page six.
3] =A: Yes.
4}  @: And you said you coukin’t speak for the Board, but this
9) correctly expressed your purpose?

 

 

 

 

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(25) Page 89 - Page 92
 

Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 26 of 41

Richard Nilsen
January 3, 2005

Tammy Kitzmiller, ct al. v.
Dover Area Schoo! District, et al.

 

 

Page 93

tA: Yes.

fa @: Can you explain how the science curriculum has been
fy enhanced beyond how it previously existed by the change

i) in the curriculum?

) A: Students prior to the change only knew that there was
i] one theory, Darwin's, and there were students that held

fy) other theories. And those that were priorly

18) discriminated against, now know there are other theories

(a and can believe those other theories and not believe the
(19) School District is discriminating against their beliefs.
fy @: When you use the term theories, do you mean scientific
[14 theories?
ia 0A: Yes,

14) @: As of the time this resolution was passed, had you done
(15) anything to ensure yourself that Intelligent Design was

11) in fact a scientific theory?

m0 OA: No.

118) G: Have you done anything since to assure yourself that
j10} Intelligent Design is a scientific theory?

jays As: I will answer that as I did before. Have I done any

21] specific research on Intelligent Design? No. Have |

24] been given items on Intelligent Design that [ have read

23) since then? The answer is yes.

 

Page 95
()} there are kids that do believe in Intelligent Design.
12) So we are not teaching it. We are accepting beliefs in
i] other students that they believe differently than what
#4] is being taught in that class.
2 = @: For limited purpose, it is not important whether itisa
16] valid scientific belief or not?
7 ~2©=SsOA:: Yes.
fs} Gs: There are also kids who belief in the Biblical version
[) of creation; correct?

no A: Yes.

1} © @: You talked to them ] am sure; right?

120A: Yes.

13 GQ: Se you could achieve the same objective by making
[14] students aware that some people believe the Biblical

(15) version? :

(10 A: J am not sure what your question is on that.

7G: Is there a reason why you haven't included the Biblical
[18] version as one of the beliefs that you want to not

ts] discriminate against?

ey A: 1 didn’t put it in. So 1 don't know what the

23] conversation and the reasoning was behind what was

[2a] chosen.

230s G:: Is there any distinction in your mind between a

(24) curriculum item that makes students aware that there is

281 a Biblical version viewpoint about creation and onc like

 

4) @: And based on those materials, you have assurcd yourself
(25) that Intelligent Design is a scientific theory?
Page 94
OAS Yes.
fa. «GQ: And have you assured yourself it is a valid scientific
fj theory?
fa] Ar Yes,
m3 MR. GILLEN: Objection.
ie BY MR. ROTHSCHILD:

Pl @: What materiats that you have looked at have caused you
a believe that it is a valid scientific theory?
j Az: Scientists with vignettes (sp.) That reflect a knowledge
119) base have stated thus.
1) Qs Lam not familiar with the term you just used.
2 «=A: Vignettes are basically their resumes.
ig} Q: Do you have any understanding of how Intelligent Design
(14) is viewed by the scientific community generally?
ng At No. :
fv) @: Do you think that is important to your determination of
[t7] whether you are actually presenting a valid scientific
ta) theory to the students?
t= A: No.
te) «= G@: Does it matter to you in terms of achieving this purpose

 

Page —
) the one you have here that makes them aware of
f Intelligent Design?
A: Yes.
Q: What is the difference?
A: Once is religious, and one is not.
MR. ROTHSCHILD: We'll take a two minute break.
MR. GILLEN: Sure.
(A recess was taken from 12:20 a.m. to 12:25 a.m.)

SHERZSEBERB

AFTER RECESS

[t} BY MA, ROTHSCHILD:

712) @: Dr. Nilsen, | apologize.1 have been calling you Mr.
3] Nilsen frequently. 1 apologize for that.

14) A: No problem.

| @: You worked hard for it. I didn’t mean to disrespect
[18] you.
7) Ina couple of instances in the book Pandas, the

[18] statement is made that life itself owes its origin to a
[tq master intellect.Are you aware of that statement?

 

 

 

 

feoqy «= A: No.
21] ‘whether there is any scientific merit to Intelligent Gt What do you understand that statement to mean?
(24 Design? pq) MR. GILLEN: Objection, speculation.
Ar _It goes back to the original belief. Obviously, you and te] At Lam sorry. What is the question?
4) | differ, ] don’t belicve in our science classroom we a]
2s) are teaching Intelligent Design. 1 do belicve that (es) BY MA. ROTHSCHILD:
Page 93 - Page 96 (26) Min-U-Script® ‘Filius & McLucas Reporting Service, Inc.
 

Case 4:04-cv-02688-JEJ Document 216-6

Filed 09/28/05 Page 27 of 41

 

 

 

Tammy Kitzmiller, et al v. Richard Nibe
Dover Area School District, et al. January 3, 20(
Page 97 Pago €

1] @: Do you have an understanding of what that statement
2 micans? : ,
B) =A: Can you please read it again, please?
4) ©: Life itself owes its origin to a master intellect.
| A: I don’t have an understanding of what that means.
} © @:_ Just listening to that passage, what is your
7 understanding of what a master intellect would be?
ft} «= A: | would never take a sentence out of context. I would
i) have to read the whole context.
fq) = GQ: Would you like to look at the book?
(4) A: Sure. Tell me where it is.
(1 Qs It’s at the very end. You may need to read more for
(13) context.
(4] A: Where is the statement?
1 = @: You see where I put the yellow tabs at the very end It
{¥8] Says master intellect.
tt7) A: Oh. Your question is?
te) «= G@: What do you understand a master intellect to be
() referring to?

po = MR. GILLEN: Objection, foundation.

Ry A: I don't know,

Ra BY MR. ROTHSCHILD:

3}  @: Do you have any explanation for what a master intellect

4) coukl be referring to in terms of the creation or
[26] development of species other than to God?

 

Page 98
It} A: Yes.
i} G: What?
fm =A: Aliens.
fj] G:; Can you think of anything else?
i] A: No.

) «©=«. @:-: Using master intellect in that context, it must mean God
7) or aliens? ,
«= At In this context, yes.

bm ©=-.@::_ Also in the book — and I will show you the passages —
[#0] it states — and this is on pages 99 and 100 of the book

fi] — it states Intelligent Design means that various forms

nz of life began abruptly through an intelligent agency

3] with their distinctive features already intact —- fish

(4] with fins and scales, birds with feathers, beaks and

Ns Wings, etcetera.

6 = Do you have any understanding of what kind of

I] actor could have caused forms of life to begin abruptly

i as described here other than God?

tie) A: Let me see the Paragraph. Where the yellow tab is?

tf G@: Bottom of page 99 leading over to 100.

f@} A; Again, 1 am sorry. Your question?

4 —@: Do you have any — do you have an understanding of what

(23) that could be referring to that could create life
(24) abruptly as described other than God?
te «=A: Again, aliens.

Q: And that is it?
f] 806A: Yes.
1 «©: @:-: Do you understand Intelligent Design to be in any way
(4) referring to the work of aliens?
A: Yes.
) ©6=- @ Where did you get that understanding?
i} A: Board members have communicated that.
3} = @: Is that your only source of understanding?
b} «= A: Tam sorry. Phrase the question.
nq = @: Is that the only basis for your understanding that
{tt} Intelligent Design could be referring to the acts of
{iq} aliens?
(13) At Again, I have not researched Intelligent Design
(14) thoroughly so I don’t intend to be an expert on it.
118} Have individuals — specific Board members communicated
[18] to me that they believe Intelligent Design refers to
17) aliens? Yes.
18 «=©Could it be more than that? I would not be an
18} expert to define that issue, [ am not going to debate
24 the Intelligent Design issue.

24) 9G: Are you familiar with the beliefs of the Raelians?

fz} A: Sounds familiar, but I can't be specific enough to say

(231 yes.

4) G: Do. you know anything about their belicfs or principles?

fe) A: No.

 

Page 10
ti} G@: What Board members told you that Intelligent Design is
1 about the work of aliens? :

B) Az She said it is a possibility that it could be a work of

[4] aliens. .

Q: Who is that?

A: Angie Yingling.

Q: Anybody else?

A: No.

Q: Ms. Yingling has been quoted in the newspapers as
{10] stating that persons on the Board called her an athcist

44) or un Christian in urging her to vote for the

(13) reschution.

I) «= Are you aware of those statements?

na} At As I read in the newspaper?

1s) GQ: Are you aware that that has becn reported, that she said
(i¢) she had been called that?

7% A: Ask that question again.

te «=: Are you aware that Ms. Yingling made that accusation,
118] that she had been calied un Christian and atheist?

fe) A T remember reading that in the newspaper, yes.

ft) Gs Are you aware of those statements accually having been
[24 made other than the fact that —

pa 6=SsC A: No.

{24} Gz ~ she said it? Do you understand the concept that

HBEAES

 

 

[25] Creatures were created abruptly in their present form,

 

 

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(27) Page 97 - Page 10:
 

Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 28 of 41

Richard Nilsen
January 3, 2005

Tammy Kitzmiller, et al. v.
Dover Area School District, et al.

 

 

Page 101

i) birds with feathers, fish with fins to be a tenet of

(a Creationism?

pt At 1 don’t know cnough about Creationism to say whether
4 that is the only tenct.

i «©. Q:: Do you know it to be a tenet of Creationism?

f(A: Yes. ©

jf ©: Do you understand it to be a tenet of Creationism that
i) humans were created in their present form?

pm At Again, ].am not an expert on what Creationism is or is
fio) not. I can't speak to that because there are many
(1) different theories and concepts within the umbrella
12) called Creationism.

(3 @: So it could be more than just the Biblical theory of
114] Creationism or Biblical idea of Creationism?

1s) A: Yes.

1 © @: Do you have an understanding of other concepts of

{17] Creationism or just the Biblical concept?

pq A: There are other concepts of Creationism, sure.

19 @:_ Is there anything consistent across theories or concepts
(a) of Creationism that causes you to put them under the

24] umbreila of Creationism?

2] MA. GILLEN: Objection, foundation.

fy A: | am sorry. The question?

[24] BY MR. ROTHSCHILD:

eR} a: Is there anything consistent across different concepts

Page 102
) of Creationism that causes you to put them all under the
@ definition of Creationism?
pg) A: As defined by the public religious.
w= GQ: Anything else?
A: No.
9]  Q: The District produced to us an audiotape of the October
7) 18th meeting in which much of the discussion about the
(8) biology curriculum of some of the discussion of the
(| biology curriculum was cut off.
iq «© Do you know how that happened?
itt) = OAs Yes.
114 «© GQ: How is that?
13) At Giving you the background as I alluded to before, the
t4) secretary is fighting cancer. Our second Board
{16} secretary had a son that was involved in a wrestling
[#8] match.
17 $0 our third individual Ed Hermance — that is
(1@) actually the third Board secretary — when he went to
[1 change the tape, he communicated to me that he Jeft the
0] lape-on pause. When he hit play, the pause was still on
te1] so it did not record the second half of the Board
23) meeting.
7) Q: Okay. Has the Board developed a policy or — strike
(24) that. Is there any policy in effect in the District to

 

Page 103
(1) presentation of Intelligent Design?

pm] A: Yes. If you look in your minutes, your packet, I

Bp} believe the Assistant Superintendent developed a letter

#1 that is going out. ,

f= @: And has that letter been approved by the Board?

te} A: The Board will not approve it. It is not a Board issue.

mm] «©. @:: That is something that the administration is doing on
ja} its own?

i 0A: Yes.

ya) GQ: Who decided to do that?

i) At In any controversial subject matter by Pennsytvania

ti Code, a teacher — | am sorry — @ parent can opt out of

(13) any conversation due to religious purposes. We do send

(14] periodic letters on subject matters that are of

[15; controversy.

(16) ‘I directed the Assistant Superintendent to develop

(17) a letter on this controversy to make sure that anybody

(18) above and beyond knew of that option.

ts))60 @: Lh you could turn to the — and I really am near the end
py here. If you can turn to I believe it is Exhibit 4. It

i21) is the production —or maybe 5. Iam sorry. It is 5.

jez) Turn to the page stamped 74.

I23)0—s At: (Witness complies.)

4}: This is a memo you prepared notifying the Board about
fs) the Complaint?

 

Page 4ohmme’
It} As Yes.
ff 8 @: In the second paragraph, you note for the Board the
1 eleven parents who have filed suit_Is there any reason
4] that you called that particularly to their attention?

i) «=A: The Board members requested it.
1  @: Which Board members?
fA: Board President Mrs. Harkins asked who filed the suit.

«0. @: What was your understanding of why she was asking that
i question?

(iq) «= MR. GILLEN: Objection, foundation.

ty A: I don’t know. I can’t speak for her.

112] BY MR. ROTHSCHILD:

13) @: Are you aware of any discussion about members of the
[+4] School Board or employes of the School District or their

115) representatives planning to contact any of the

q plaintiffs to discuss the lawsuit?

7 ~=— A: Read that question, again.

[16] Q: Has there been any discussion that you are aware of
(1¢) among School Board members or employes of the School

pq District about contacting plaintiffs to discuss the

21) lawsuit?
aC: No.
pa 4: Turn to page 37.

 

 

 

 

4) A: (Witness complies.)
24 allow students to opt out of the discussion of or 9 @: Do you know whose handwritten notes those are?
Page 101 - Page 104 (28) Min-U-Scripto Filius & McLucas Reporting Service, Inc.
 

Case 4:04-cv-02688-JEJ

Tammy Kitzmiller, et al. v.
Dover Area School District, et al.

Document 216-6 Filed 09/28/05 Page 29 of 41

Richard Nilser
_ January 3, 2005

 

Page 105

A: Mr. Mike Baksa.

~ «©: If you turn to page 39 ~

= A: CWitness complics.)

4} Q@: — do you recognize the document marked page 39?
() A: Yes.

je) Gt Was that something that was submitted to the School

1) District?

) A: I believe this was submitted to Mr. Mike Baksa.
i] @: By Mr. Buckingham?
go) A: That is my understanding.
ity) «=©69: Do you know what the purpose was for this document?
12) A: I believe he had questions on the Miller Levin book.
3) Q: Mr. Baksa had questions?
114) A: Mr. Buckingham did.
1s) = Q: If you could, purn to page 55.
(«| A: (Witness complies.)
17 «=©6.@: Do you recognize those notes?
ite} «=A Yes.
fa)60 ss G: Whose handwriting?
jeo)Cs«A; Mr. Baksa’s.
21) G: This document, the printed text states that it is a

[24] survey of biology books used in area schools and has 2
[23] couple of schools filled in.

 

Page 107
fi] what other books were used in what other school
[a districts.
 G: Do you know whether it-was the Board or the community?
4) OA: No, I don’t. It is one or the other.
1 © G@: Doyouknow why the survey was limited to denominational
©) schools?

™ ~=A: Not with certainty.
@ : Do you have any understanding?
i] A: No, because there could have been different reasons.
oq @: Do you know whether the intention in doing this survey

{11} was to identify books other than the Miller Levin book

(2) that was being considered as the possible biclogy

[13] textbook for the Dover District? ,

{4 A: Again, l woulkdn’t define it solely in that area.

11 Whenever we adopt a textbook, we ory to research as much
(16) as possible who is using what and where.

7 Q: Js it-your practice for other textbooks to find cut what
[18] private denominational schoois are using?

fe) A: itis our practice to find out as many districts as

[2 possible.

eG: These aren’t districts. These are private

[22] denominational schools. Is that your practice to find

[23] out what private denominational schools are using?

 

 

te) «= Who created the printed text of this document? 4) 0A: Again, ] answered it to the extent of where it is our
es A: Mr. Baksa. 25} practice to find as many as possible. Whether those
. Page 106 , Page 108
«6G: Was this a survey that he conducted? [) were forgotten or not or added later, I do not know
fas Ast:- His office. ta because I did not do the research.
B «© G: What was the purpose of the survey? = @: Are you aware of other textbook searchs where private
4) MR. GILLEN: Objection, foundation. 4) denominational schools have been surveyed?
1) A: To find out what other districts or high schools, what i At Yes.
I other biclogy bocks they had. (6) «©=- Q: For what kind of textbooks?
mi BY MA. ROTHSCHILD: ft A: I directed when I was Assistant Superintendent the

1) @: The only schools listed here are private denominational
t@ schools; correct?

Io) A Yes.

4; Q@: Why did Mr, Baksa do this survey?

[8] secretary to contact all schools in York County. I

[| never limited to public or private.

q0©=- GQ: Did you ever instruct that search to be just directed at
[11] private denominational schools?

 

 

 

 

z= MR. GILLEN: Objection, foundation. aA: No,

3A: I. don't know, You have to ask him. a MR. ROTHSCHILD: Thank you very much. |

(4p BY MR. ROTHSCHILD: [14] appreciate your patience.

{15} Q: Were you aware he had done this survey? 1151 BY MAL. GILLEN:

te) A Yes. je] «=: Richard, just a few questions that I would like to ask
17, G: When did you become aware of it? (17) to make sure that everything is very clear,

i] A: Sometime this summer. 8) _ Earlier, Mr. Rothschild asked you about teacher's

19 © @: How did you become aware of it? it] discretion in the curriculum. 1 would like to ask you

0 A: He communicated to me orally that he had done so. (2g simply do teachers have curriculum discretion to teach
1) : Did you ask him why he had done so? Pi} Intelligent Design? .

tz) A: No.I knew why. z= Ar No.

za «=: Why? 23 «=: Do teachers have discretion to lecture on Intelligent
24) A: The Board had asked the question, if not the community pq Design?

(25) had asked the question — one or the other -- who and pa A: No.

Filius & Mclucas Reporting Service,Inc. Min-U-Script® (29) Page 105 - Page 10
 

 

Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 30 of 41

Richard Nilsen
January 3, 2005

Tammy Kitzmiller, et al. v.
Dover Area School District, et al.

 

 

Page 109

() «— @: _ In the event as Mr. Rothschild has pointed out the

2) curriculum policy that was adopted calls for students

fa) will be made aware of gaps/problems in Darwin's Theory,

] do you have an understanding of how snidents are made

} aware of gaps?

1) «© OA: By their own research. Read that question again.
(1G: Do you have an understanding — let me ask you this:
(8) Have you directed teachers as to how to make students

ia) aware of gaps and problems in Darwin's Theory?
(iq A: Beyond the textbook that they currently have and the
[11] textbook that the teachers requested has sections in it
(s2) that speaks to the gaps and problems.
13) Q: Earlier, Mr. Rothschild asked you about a newspaper
{14] article dated June 14th, 2004 from the York Daily

(15; Record, It contains a statement that was attributed to

[1 Mr. Buckingham.

17] L-want you to look carefully at this portion of

(19) the statement again which was read.

1) «= WR. ROTHSCHILO: Can you tell me what page you are
(2) looking at?

zn MR. GILLEN: Certainly. The June 14th, 2004

[22] article. Yes, that is the one.

(23) BY MA, GILLEN:

fq 0: Jt contains a statement this country wasn’t founded on
125] Muslim beliefs or cvolution — close the quote.

 

 

Page 110

1) «= Task you again: Do you recall Mr. Buckingham

1 making that statement, this country wasn't founded on

B) Muslim beliefs or evolution?

# A: No.idon't remember that.

(8)  @: As] focus your attention on that statement, what is

I} inaccurate in your recollection about it now?

gt As 1 don’t remember him saying either. 1 don’t remember
(6) him saying that whole sentence. I don’t remember him

) saying this country wasn’t founded on Muslim beliefs or
(}q) evolution. ] don’t remember him saying that in total.
11y Qs Just to be clear again, is it that you both don't
(12) remesober him saying this country wasn't founded on

py evolution?

14) Ar Agreed.

1) @: And this country wasn't founded on Muslim beliefs?
jie} «= A: Both.

17) GQ: Right. Okay. I just wanted to make that clear. } am

[1a] not sure it was entirely clear,
(19} MA. ROTHSCHILD: Can I just follow up on that ~
[20) point?

Page 111
I] of whether Intelligent Design posits a thesis with
] respect to an intelligent agent?
pt A: lam sorry. The question again?
#)  @: Do you have an understanding concerning whether
| Intelligent Design posits a thesis with respect to the
i nature of an intelligent agent?

f= MR. ROTHSCHILD: Objection, form.
i) A: lam sorry. You are going to have to do that one more
1 Gime.
(0h BY MR. GILLEN:
i] «= @: Do you have an understanding concerning whether
(12) Intelligent Design posits —
13] «Ar What does posits mean?
114] @: Teaches, advances a thesis with respect to the nature of
11 an intelligent agent?
aq A: No. I don't know.
7) MAL GILLEN: That is all J have.
[18 BY MR. ROTHSCHILD:
19) G: Just going back to the sentence in the news article, do

pH you recall Mr. Buckingham saying the second part of the

j21) quote here this country was founded on Christianity and

124 our students should be tanght as such?

i) «0S A: No.

2 ©: Taking the whole quoted section there Muslim beliefs,
25) evolution, Christianity, the whole thing, do you

 

ls

 

Page t°
I) remember Mr. Buckingham saying anything to that effect?
tq A: Do |remember him saying in conversation about Muslims?
8) Do | remember him saying in conversations about
4} Christianity? Yes. Within that context, no, I do not
[4 remember it.
5] +: Meaning not anything to do with the biology curriculum?
|. A: Not that I remember, no.
fe) «0 @: And just one more question. You testified in response
{} to your counsel's question that teachers have no
(19) discretion to lecture on Intelligent Design.
1) ~—s Isn't it the case that the biology curriculum says
(ray that they will lecture on this very subject matter? It
113) says lecture is the instructional strategy for the unit
14; that includes the presentation of Intelligent Design?
1) A: But not Intelligent Design. They are not to teach
(ej Intelligent Design.
i177 -Q: But they are going to read the statement which informs
i119) students about Intelligent Design; is that correct?
A: That's correct.

 

 

 

2) «© Qs: That is a lecture; correct?
ey © MR. GILLEN: As soon as | am done. 2}: MR. GILLEN: Objection, characterization.
gq MA. ROTHSCHILD: | just thought it would easier. 2 ~<A: No. It is not.A lecture is more than just reading a
[231 That is fine. [23 statement.A lecture is an expanded presentation. If I
24) BY MA. GILLEN: faq lecture something, it is more than just reading a
61 @: Just to be clear on this, do you have an understanding 25) statement.
Page 109 - Page 112 (30) Min-U-Scripto Filius & MclLucas Reporting Service, Inc.

 
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Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 31 of 41

Tammy Kitzmiller, etal. v.
Dover Area School District, et al.

 

Page 413

fi} BY MR. ROTHSCHILD:

fj «=. @:_ So the instructional strategy of lecture docs not apply
3} to the curriculum item regarding Intelligent Design?
A: That's correct, as so defined by you. .

Q: As what is defined by me?

A: You are conveying that lecture is a full explanation.
Q: | didn't define it. You defined it.

A: Okay. Then I defined it then.

MR. ROTHSCHILD: Thank you. ] appreciate your
fo) taking all the time.

1) MR. GILLEN: Thank you.

fiz) (The deposition was concluded at 12:55 p.m.)
03

(14)

1154

116]

"7

(14

13)

fe0)

ey

[24

23

4}

fe}

BSBARBBE

Page 114

COMMONWEALTH OF PENNSYLVANIA:
COUNTY OF CUMBERLAND ;
1, Vieid L. Fox, Reporter and Nolary Public in and
for the Commonwealih of Pennsyivania and County of
Cumberland, do hereby cartily nat the foregoing
testimony was taken before me at the time and place
hereinbetore set forth, and ihat lis the testimony of:
RICHARD NILSEN
i further certity thal said wilness was by me duly
swom to lestily ne whole and complete truth in said
cause: thal (he tesllmony then given was reporied by me
Slenographically, and subsequently transcribed under my
direction and supervision; and thal the foregeing & a
Jull, tue and correct transcript of my original
shorihand notes.
Hturther certify thal | am not counsel for nor
related to any of ihe parties to the foregoing cause,
nor employed by them or thelr aitomays, and am nol
inderesied in the subject matiar or outcome inerect.
Dated at Camp HM, Pennsylvania, this Grd day of
Janvary, 2005.
Vicki L. Fox
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Richard Nilsen
January 3, 2005

 

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(31) Page 113 - Page 114
 

Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 32 of 41

Lawyer's Notes
 

Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 33 of 41

 

 

 

 

 

 

 

 

 

 

Tamary Kitzmiller, etal. v. Richard Nilsen
Dover Area School District, et al. January 3, 2005
4 administrator 31:18; Area 4:6, 7,15, 16; 5:12;
0 49:18 17:24; 24:21, 23; 25:8: B
administrators 32:5 227; 54:9; 105:22:107:14
000001 14:22 4 103:20 adopt 107:15 Aristotle's 89:23 B 29:5
000139 15:4 40 74:16 adopted 65:3; 66:6; 68:7; | arose 89:20 BA 26:10
OO01S1 15:4 45 74:2,10 J09:2 around 70:1 back 28:15: 30:15; 40:9
000167 14:23 advance 22:9 arrived 33:1; 42:22 47:9; 66:13; 67:10, 15, 16;
5 advanced 22:16 article $3:14; 54:3; 56:1, | 68:1; 70:18; 75:13; 76:17;
advances 111:14 3; 57:31; 58:1, 2, 24, 25; 90:14; 92:9; 94:23; 111:18
1 advice 37:3, 8; 39:1, 24; 59:13, 14; 60:24; 63:6; background 102:13.
5 103:21, 2 40:4, 6 109:14, 22; 114:19 Baksa 9:15; 15:23; 18:3,
47:45; 48:4 50 74:2, 10 Again 14:7; 15:8; 21:25, | articles 50:5,6;52:16; | 4; 25:3; 42:17, 24, 25;
100 98:10 20 55 105:15 2374; 38:20; 41:12, 25; 53:12, 15, 19; 58:19; 44:15, 23; S79, 12, 19, 21
BM 42:9, 51:12; 52:7; 61:20; 64:15; 73:24; 741; 75:24 23; 67:1; 68:12; 69:2; 70:4
40:35 45:9 7 67/10; 72:15; 76:6; 83:9, | articulated 77:7 105:1, 8, 13, 25; 106;11
10:45 45:9 2H B57: 86 a eae 0s aside 74:25; 78:9 Baksa’s 9:19; 105:20
10th 58:24 74 103:22 100:17; 101:9; 104:17; aspects 40:5 balance $9:21;64:9, 11
14:00 53:5 107:14, 24; 109:6, 18; asserting 19:9 balanced 21:12, 13, 15,
11:10 53:5 s 21:1, 11; 111:3 assigned 74:6 20
11:30 70:23. against 4:6; 93:8, 10; Assistant 9:20; 13:23; base 84:23; 94:10
12:20 96:8 95:19 14:11; 17:23; 24:23; 25:2, | based 73:15; 78:24, 25,
12:25 96:8 867:16 agency 98:12 5, 19, 25; 27:38; 30:14; 79:8; 93:24
12:30 92:15 8th 54:3 agenda 15:24 - 31:6; 32:3, 9, 17;33:3, 16, | basically 94:12
. . 25; 49:14, 15; 57:9;55:18, | basis 99:10
12:55 113:12 agent 111:2,6,15
' : 9 aggressively 59:4 19, 66:10, 15, 89:15; battling 27:15
413th 3:21 99 103:3, 16; 108-7
27:1: 34:6; 63:11 , . beaks 98:14
14's 60:4 BgO 27:1; 54:0; OS: associated 18:1; 61:9 .
. agree $8:20; 62:11, 22; became 72:25
146 15: 99 98:10, 20 9 wT ia aio © | assure 93:18
15:5, 8 Sth 56:3: 58:1 77:12; 80:11, 17; 81:22 . become 12:7; 15:21;
148 15:11, 23 56:9; 58: agreed 44:23; 64:8; assured 93:24; 94:2 20:18; 40:20; 72:21;
14th 59:13, 24; 109:14, 21 A 140:14 atheist 100:10, 19 106:17, 19
15 63:7 Aguillard 77:16, 19 attachment 15:24 becoming 25:5
151 15:6,9 ahead 53:22 attend 27:9; 28:13, 16, pegen 98:12
: . "5, 5; 96: 25-16-58: 21;31:7,10,15 begin 15:3; 38:18, 21;
18th 13:10; 14:15; 27:19; | 8:7 53:5, 5; 96:8, 8 Alan 9:14; 35:19; 58:5; 19, 21; 31:7, 10, gin 15:3;
34:10, 18, 20; 35:4, 17; above 87:8; 103:18 59:3; 64:7 attended 27:3 48:16;98:17
38:41; 47:14; 49:2:102-7 | abruptly 98:12,17,24; | Aliens 98:3,7,25;99:4, | attends 30:22 beginning 15:5; 43:13;
107273:2,4 100:25 12, 17; 10:2, 4 attention 20:2, 5, 20; 54:9; 76:1, 7; 89:15
41:05 69:25 accept 41:3;66:10,18 | allow.6:20; 102:25 104:4;110:5 begins 14:22; 56:7; 57:8
we 02: ‘accepted 66:15 allowed 49:10 attorney 5:8 behalf 8:3, 12
2 accepting 73:13;95:2 | allowing 88:2, 4 attorney/client 5:16, 22; | behind 73:18;95:21
account 60:17 alluded 78:16; 102:13 6:1, 7; 38:24; 39:5, 9 beliet 73:8, 12, 15, 21;
accurate 22:17 alternative 22:15 attorneys 9:2,9;16:18; | SE2%9568
2 7:24; 92:20 accusation 100:18 ambiguous 84:8 36:23, 24; 37:8; 39:3 io vee tn Sie gad
2,000 63:11 achieve 95:13 amended 24:2 attributed $4:5;63:13; | 93'30, 95:2, 18; 99:21, 24:
2003 66:9, 13, 14 achieved 87:20 amending 22:22, 25; so 109:25; 110:3, 9, 15;
2004 19:23; 20:17;34:7, | achieving 94:20 23:12, 17,20 audible 7:1 111:24
10; 50:7; 54:3; 55:23; 56:3; | ACLU 4:13 among 77:7; 83:6; 90:5; | audibly 6:25 besides 13:19;31:7;
58:2, 25; 59:13; 63:7; across 44:15; 71:1; 104:19 audiotape 102:6 49:10; 51:15; 65:14;
65:10; 66:2: 72:25; 74:14, | 101:19, 25 and/or 69:13; 86:20; August 66:6 69:19: 72:9; 83:16
25; 109:14, 22 acting 25:19; 27:17,21 | 90:16 authority 68:3 best 8:18, 20; 17:8; 44:24
2005 3:21 activities 67:22 Angie 200s ‘ authorized 38:6 beyond 38:24 1: i
+ . answe 21:21; 76:24; i . 1:8; 22:3; 23:8; 46:18;
22nd 44:5, 15 actor 98:17 107-24 authorizing 3:15 48:24; 68:8, 15; 72:2;91:2
23rd 44:5, 15 acts 99:11 . aware 12:7, 15; 13:8; h- 102-1 a
, apologies 34:16 1 19-0" age. | 25:3: 103:18; 10510
24th 68:5; 69:25: 91:20 actually 26:13: 46:3; . 15:21; 19:9; 20:18; 23:22; Bible 77:7
eee Ee iE | 61:12; 78:22; 94:17; apologize 5:19; 96:12, 13 | 33:10; 40:20; 47:12: .
100-21; 102:18 apply 113:2 49:22; 2:2, 9; 54:6, 16; | Biblical 60:16; 77-4;
> added 47:13: 49:1: 108:1 |. appreciate 108:14; 113:9 | 56:34;57:15, 18; 58:7, 10; 78:17, 17, 24; 95:8, 14, 17
ae ' , 59:7, 23; 60:7: 61:4, 6, 8: 25; 101:13, 14,17
additional 27:20; 45:17, | appropriate 41:4; 71:12 ty ge eee Cece Big 25:9, 13
30 27:1 47:21, 22 approval 28:3 63:14; 65:7; 66:25; 67:9; ig 25:9,
: ar 72:21, 25; 77:9; 79:4; 80:1, | Bill 9:14; 12:9; 35:19; 70:
300 85:2 additionally 90:16 approve 103:6 14, 15;81:1;83:5, 11,14; | biology 13:10; 15:13;
30th 14:22 address 71:21 approved 27:18; 28:6; B4:1, 6,8, 12:89:6; 95:14, | 21:3; 22:2, 9, 19, 22: 23:1,
37 104:23 addressing 71:23 103:5 24;96:1, 19; 100:33,15, | 12, 17, 20: 24:2; 26:20;
39 105:2, 4 administration 21:8; approves 27:14; 28:2 18, 21; 104:13, 18; 106:15, | 33:13; 34:11, 24; 35:2;
ee 23:6, 9: 26:11; 103-7 Aralene 29:5 17, 19; 108:3; 109:3, 5,9 47:2, 13; 49:1; 50:7, 10,

 

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Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 34 of 41

Richard Niisen
January 3, 2005

17, 22; 51:3, 10, 16; 52:2,
9; 93:14; 59:5, 10, 20;
63:25; 65:11, 14; 66:3;
67:11; 71:7; 87:9, 15;
102:8, 9; 105:22; 106:6;
107:12; 112:6, 11

birds 98:14; 105:1

bit 6:11

 

Buckingham 9:15; 12:9,
39, 22; 20:19; 21:5; 24:6;
35:19; 36:11, 16; 52:15;
56:10, 15, 17, 24; 59:4, 19;
60:8, 10, 25; 61:12, 21,
63:4, 13, 17; 64:8; 1059,
14; 109:16; 110:; 111:20;
112:1

 

 

 

Christian 59:21; 106:11,
19

Christianity 61:2, 10, 19;
62:15, 21; 111:21, 25;
412:4

chronological 59:16
Church 63:7
circumstances 4:22;

 

  

Tammy Kitzmiller, et al. v.
Dover Area School District, et al.

compels 82:9
Complaint 7:19; 13:3, 7;
16:7; 103:25

completed 28:1
completely 51:22
complies 7:21; 13:2;
22:7: SF; 58:3; 59:1;
63:9; 67:12, 14; 78:21;

 

council 44:19

counsel 5:6; 9:21; 10:3,
17, 20, 24; 11:12; 14:21;
16:14, 17; 92:4, 5
counse!'s 112:9
country 60:25; 61:2, 18;
62:13, 14, 18, 20, 21;

 

te 53. 109-24; 10:2, 9, 12, 15;
Board 475: S12 256 67; Buckingham's 53:2 5:10; 11:20; 20:4; 28:8, 19; | 92:11; 103:23; 104:24; 111:21
8:4, 13; 9:17; 10:6, 14, 23; 41:14: 37:32, 13; 42:15; 105:3, 16 - 108:
12:9; 13:4, 9, 15, 16, 19; Cc 61:24; 62:7 commonents 23:5:62:18 | COUMY 50:2, 3; 108:8
14:6; 15:7, 13, 22, 24; Sey pe 771 de det Ge pom “SH O218 | Couple 96:17; 105:23
oe eee clarity 7:8; 27:14; 45:16; co site 14:20
16:14, 20, 24; 17:1, 4, 14; t1 11:23; 12:2, 8:37:16 55:13 Peed 15.7 courage 63:12
20:19; 23:6, 18, 21; 24:4, | cal Li:23, 122, 573.016, : a4: omp ; >: 6B-4: TH:
6, 8 Z2:7, 14,15,17,20, | 16; 80:13 care 5713, 24; 78:4; computer 29:20 Seer oun cee 722
23; 28:2, & 16, 21; 29:8, Callahan 29:5 : ses7:13:78:11 concept 18:20; 75:7, 10, ¢ ours urriculum
22, 25; 30-4, 7, 13, 19; called 3:7; 12:20; 37:17, classes 77:13; 78: 11; 76:19; 82:19; 100:24; ,
41:2, 4, 5,6, 12,17, 19, 2% | 18-39:1;100:10, 16, 19; classroom 3:21; 45:5; 101-17 courses 26:15, 20; 27:3
32:5, 13, 15, 19, 21; 3%:18, 101:12; 104:4 £65 AAI 49:8; concepts 18:24, 25; Court 3:15; 4:25; 6:16;
51:21: 52:3, 10; 56:25; calls 34:14; 87:2; 109:2 46:22; 48:2: 108:17; , concern 91:9, 10 Court's 3:18
57:2, 3: 58:5, 16,175 59:3, | came 20:5; 44:15; 62:4 110:11, 17,18, 25 concerned 91:14 cover 91:16, 17
3, §9:62:2, 5;63:21;64:7, | can 6:19, 21; 11:18; 15:8; | clearly 22:12; 92:19 concerning 111:4, 11 create 98:23
18, 20; 65:2, 22, 22, 23; 16:13, 25; 19:17; 22:4; clients 39:4 concerns 90:22, 23 created 41:20; 100:25;
66:21;67:5, 5, 7; 68:75 23:9, 10, 21; 26:24; 30:15; clippings 30:6 conclude 75:6 101:8; 105:24
69:2; 83:3; 90:1, 4; 92:2, 31:1; 32:6; 37:12; 38:20; . ; ame .
24; 99:7, 15; 100:1, 10; 39:3; 41:24: 43:7; 47:8; close 10%:25 concluded 29:11; 113:12 creation 27:5; 59:5, 22;
102:14, 18, 21,23; 103:5, | 53:3, 18;57:1,5,6:58:19; | Code 103-12 concludes 14:23 sor 91:24; 95:9, 25;
6, 6, 24; 104:2,5,6,7,14, | 61:24;63:8;6710; 68:15; | collection 15:3; 53:11, conducted 106:1 97:2
19; 106:24; 10723 78:22: 83:6; 85:18;87:3; | 15; 54:3 conterence 29:6 Creationism 27:5; 44:17,
Board's 22:22; 23:16, 19; | 93:2, 9; 97:3; 98:4; 103:12, | collectively 53:12 conjunction 32:10; 22; 49:21; 54:23; 55:4, 6,
24:1 20; 109:19; 110:19 . 49-69" 10, 14, 17, 20, 24; 56:11,
College 26:11, 14 68:12; 69:2 19, 25:57:3, 13, 24; 58:6
Bonsell 9:14; 24:7; cancer 27:15; 102:14 combination 13:21; connection 37:3, 9 is 59:10-60:1 5 6k L
35:19: 36:12; 40:22; capacity 5:1 14:8, 12,14 : + 59:10; 60:13; 64:9,
42:19, 24; 52:15; 58:5, 11, ured 61:15 ee consider 84:17, 20 17, 18, 21; 65:1; 69:10, 1.
13, 15; 59:3;64:7, 10 captured 61: comment 35:15; 45:20; | considered 107:12 73:24: 74:22; 75:2, 6, 9;
Bonsell's $3:2 care 48:4 21 consistent 101:19,25 | 76:17,19, 25; 77:3,4,12,
book 11:22: 12:6, 16; carefully 109:17 comments 61:9 constraints 71:16,17 | 21,25; 78:4, 10, 16, 23,
207.8, 11,16, 18.21, 23, | case 40:5; 93:16;112:11 | committee 15:13, 22; contact 11:25; 38:4, 9; 24; 101:2, 3, 5, 7,9, 12, 14,
21:9; 22:3; 24:14;40:13; | COUSED 12:2; 75:6;94:7; | 29:22, 26 30:1,5,879, | 104:15; 108:8 14, 17, 18, 20, 21; 102:1, 2
43:15; 45:24; 46:1,6,9; | 98:17 a 25, 3 ae +e contacting 104:20 creatures 100:25
49:7; 56:7, 10, 18;59:5, | causes 101:20;102:1 32:2, 3, 12,13, 19,20, | contained 8:19;53:21 | critlenl 87:8, 10, 23; 88:2,
10, 20; 67:8; 88:16, 12,17; | causing 42:3, 15 33:17, 18, 24; 34:1, 5 contains $4:4; 109:15, 7, 24; 90:19; 91:1, 5
90:13; 96:17; 97:10; 98:9, | Center $:12;11:11,14, | 56:10, 18;65:20,21,22, | 24 cross 63:12
10; 105:12; 207-11 21; 12:2, 7, 10, 20; 16:18; | 23;66:18, 21; 67:6 content 13:9;74:21, 23, | current 4:14; 27:14
books 40:16, 21,23 34:7, 42:6; 44:17 committee's 31:20, 24 24:76:18 oe
41:3, 5, 8,11, 15, 20; 42:3, certain 40:5 . ” a contest 7:10: 74:7 currently 43:22; 109:10
6,8, 11, 12,13, 16, 20,22; | Certainty 53:4; 109:21 committees 30:25; 31:1; ui curriculum 13:10; 15:13,
43:2: 44:3, 14, 18, 24, 25; _ 32:7 context 46:7; 61:6;68:2, | 13,22; 17:23, 25; 18:1;
45:1, 4, 25: 46:4, 8, 11; certainty 107:7 communicate 7:3;40:3; | 17; 78:17,17, 24,9789, | 20:22, 24; 21:3; 22:2,9,
105-22; 106:6; 1071, 11 | certification 3:3 86:18; 87:3,4 13; 98:6, 8; 112:4 13, 19, 23; 23:1, 12, 17,
both 56:11,19;110:11, | chair 30:1, 20 communicated 12:10, | continued 53:7 20; 24:2; 25:3, 7; 29:22,
16 chaired 32:3 19; 39:23; 44:21; 51:2, 8, continues 80:8 24; 40:1, $,8, 14, 20, 22,
bottom 47:11; 58:4; chairperson 30:13,19 | 14,23, 25;52:20;69:24; | continuing 54:10 23, 24, 25;31:2, 3, 4,5,7,
98:20 change 15:17, 22;33:13; | 73:491:9,10:99:7.15; | controversial 103:11 | 10, 11, 12,35, 19, 21,22,
boxes 45:22 47:25; 93:3, 5; 102219 , icati £21: controversy 22:14; 23: 32:2, 4, 7, 10, 11,23,
break 7:11, 13;43:6,7; | changes 15:12; 34:1 52411. ng 34-215 | 51:21; 42:3, 7; 77:1; 16, 20; 33:13, 17, 23; 34:1,
45:7, 17; 53:3; 92:15;96:6 | changing 22:18; 85:10, | “ ication 34:4. &: 103:15, 17 4,11, 24; 35:2; 46:13, 15,
breaktast 44:20 16, 18 a n34:4,8; | conversation 68:1; x6 47:4, M4; 45:1, 13% 3
bring 20:20; 45:4; 46:11; | characterization 71:9; ‘ . 95:21; 103:13; 112:2 “7, 10, 17, 22; 51:4, 10,
49:7 75:8, 20; 84:13; 89:8, 25; CO ao ia conversations 12:17; | 17:52:3, 10; 53:15; 56:18;
bringing 45:24;56:24; | 91:7; 122:21 23:35:2.38:7,30.21 | 0771123 83:25 65:20. 25 Se
S72 characterizing 82:19 co inity 3 1:3: 32:2,4 conveying 113:6 24.97:21:70:4. 13,227
brings 32:10, 12;69:9, 15 | charge 32:9 11, 18:33:17; 41:7, 10, 13, | COOPer 37:21, 22 82:25; 87:9, 15; 93:2, 4;
broadly 74:4 chemistry 31:24, 25. 19: 42:4, 17:53:21; 94:14; | copies 42:17, 18 95:24; 102:8, 9; 108:19
broken 25:16 choose 68:3; 90:17 106:24; 107:3 copy 8:7 20; 109:2; 112:6, 11; 11
brought 20:1 chosen 95:22 community's 42:2 correctly 64:14; 92:25. cut 102:9
birds - cut (2) Min-U-Script® Filius & McLucas Reporting Service, Inc.
 

 

Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 35 of 41

Tammy Kitzmiller, et al. v.
Dover Area School District, et al.

Richard Nilsen
January 3, 2005

 

D

D 2:5

Daily 53:16; $8:2; 25;

59:14; 109:14

Darwin 71:19; 72:6; 7:1

Darwin's 13:8; 18:14;

22:14; 59:22: 72:9, 12, 18;

79:5, 7, 8, 9; 80:6; 81:10,

1% 82:16, 13; 83:16, 21;

84:11; 85:21; 86:4, 6; 89:4,

19, 24; 93:6; 109:3, 9

Darwinian 19:2; 21:17;

FOL; 7115; 72:2; 725;

88:11

DASD 22:9; 43:14

date 38:11

dated 63:7; 109:14

day 41:3; 92:12

dealing 4:25; 70:9; 73:24;

88:10; 90:15

deals 36:21

debate 44:22: 54:23;
55:4, 7, 10, 14, 17; 73:25;
99:19

December 5:15, 23; 6:2;
11:12; 14:22; 36:25; 38:5,
13; 44:5

decide 86:23.

decided 71:14, 18;
103:10

decision 5:23; 6:2: 46:10;
FP17, 25; 78:6, 9

define 15:18; 19:8, 11,
14; 39:11, 77:4; 91:25;
99:19; 107:14; 113:7
defined 74:4, 16; 78:25;
402:3; 113:4,5,7,8
defining 84:19
definition 17:5; 39:11;
73:1; 78:16; 102:2
degree 26:7

degrees 26:9
denominational 106:3;
107:5, 18, 22, 23; 108:4,
11

Department 70:5
deposition 3:14; 4:8, 12,
20, 23, 23, 24; §:3; 6:10;
7:15, 24; 8:24; 14:17; 40:9;
46:19; 48:7; 53:9; 76:1, 7;
92:18; 113:12

describe 31:1; 32:6;
61:24; 86:13

described 34:6; 98:18,
24

describes 86:4
describing 47:4
description 3:22
Design 16:3, 4, 8; 17:5,
10, 16, 20, 21; 18:5, 8, 22,
14,17, 20; 19:1, 3, 6,9, 16,
19, 22; 20:2, 5; 27:5;
43:14; 49:18; 65:5; 67:21;

 

70:14, 25; 71:6, 11; 72:13,
19, 22, 25; 73:1, 3, 24;
74:4,.11, 14,18; 75:11, 13,
14, 18; 76:2, 3, 8, 10, 12:
F721; 78:23, 25; 79:1, 2,
14, 16, 17, 18, 21, 24;
80:1, 4,9; 81:16, 20; 82:5:
84:2, 11,14, 17, 21; 85:3,
11, 15, 22; 86:5, 17; 87:25;
88:5; 90:15, 20; 91:2, 6;
93:15, 19, 21, 22, 25;
94:13, 22, 25; 95:1; 96:2;
98:11; 99:3, 11, 13, 16, 20;
100:1; 103:1; 108:21, 24;
111:1, 5, 12;112:10, 14,
15, 16, 18; 113:3
designate 86:19
designer 86:22
desire 64:21
destroy 29:12, 16
destroyed 28:4
destroying 28:5
determination 94:16
determining 3:16
develop 103:16
developed 28:5, 25;
32:25; 102:23; 103:3
developing 32:7, 9;
65:24
development 33:13;
97:25
deviate 33:5
deviated 33:10, 12,14
deviating 33:6
devised 15:19
Dick 9:10; 11:24
died 63:12
differ 18:14; 94:24
difference 75:23; 96:4
different 13:22; 14:8, 10,
16; 62:17; 72:12, 18;
74:21; 78:23; 80:15;
101:11, 25; 1079
differentiate 23:4
differently 95:3
differs 80:5; 86:6
direct 44:3
directed 44:2, 23:69:11,
16; 90:1; 103:16; 108:7,
10; 109:8
direction 44:7; 47:21, 23
directive 44:12, 13;
69:20, 22; 70:24; 91:10,
13,15
directly 41:13; 69:12
Director 17:23; 25:7
Directors 4:8; 8:4
disagree 53:23
disagreed 8:22; 58:5
discovery 3:15; 36:16,
18; 37:8, 14; 38:7; 39:9
discretion 46:12, 14;
47:18; 48:25; 49:4;
108:19, 20, 23; 112:10
discriminate 95:19

 

discriminated 93:8
discriminating 93:10
discrimination 72:3
discriminatory 72:5, 7
discuss 37:19; 38:1, 3, .
21, 21, 24; 39:11; 70:17;
91:16; 104:16, 20
discussed 21:7; 31:21;
35:15; 63:23; 64:1, 2, 5;

70:11; 71:5, 24

discussion 14:15; 21:1,
2, 4, 6; 38:19, 22; 64:16;
70:19; 71:4, 12; 87:11, 23;
88:2, 4,7, 25; 90:15, 18,
19, 25; 91:2, 5; 102:7, 8,
25; 104:13, 18
discussions 16:12; 17:4;
37:2, 7, 13; 38:1% 83:2, 9;
87-8; 89:2

Dispatch 53:16; 54:4;
56:4: 63:6

dispute 37:4,9
disrespect 96:15
distinction 81:1; 95:23
distinctive 98:13
distinguishing 35:23
District 4:7, 7, 15, 16;
5:13, 21; 8:4, 4, 12; 10:6,
25; 12:5, 15; 13:4,9;
17:19; 20:12; 22:22, 25;
23:2, 3, 5; 24:20, 22, 24;
25:9, 13, 20, 22; 27:16;
32:8; 33:23; 34:9, 23, 24;
35:3; 36:13; 39:8; 40:14;
42:10, 15; 44:25; 49:23;
50:14; 52:3, 11; 65:10, 20,
21, 22, 22: 66:18, 22, 22;
71:5: 82:14; 89:14; 90:6;
91:23, 25; 92:1, 5; 93:10;
102-6, 24; 104:14, 20;
105-7; 107:13

District's 22:18; 87:9
districts 49:16, 17; 87:7;
106:5; 107:2, 19,21
Divides 63:7

doctorate 26:12
document 7:18, 22; 8:2,
14; 14:11, 19; 39:15;
46:23, 24; 47:3; 48:9, 10;
§4:5; 105:4, 11, 21, 24
documents 7:17; 13:22,
22, 24; 14:8, 10, 13, 16;
15:3, 5,6

domain 70:12

donate 40:23;42:5
donated 20:11; 40:14,
16; 41:8, 11,15

donating 41:5, 20; 42:2
donation 42:20
donations 45:21

done 27:25; 42:22; 52:14;
70:22; 75:14, 18, 19;
76:15, 25; 89:19; 93:14,
18, 20; 106:15, 20, 21;
110:21

Dover 4:6, 7, 15, 16; 5:12;

 

18:11; 22:10; 24:17, 21,
23; 25:8; 27:7; 46:13;
55:14; 54:9; 82:14; 83:7;
89:14; 90:6; 107:13
down 6:15, 19; 40:10;
56:6; 57:11; 60:24; 63:10
Dr 3:11; 26:13; 45:14;
96:12

draft 16:2

dratted 14:4

drafting 14:4

draw 81:1

driven 71:21

due 43:22; 71:16; 103:13
duly 3:7

during 9:11; 26:14; 29:8;
33:2, 7: 50:7; 55:23; 59:2;
64:16; 65:10; 89:15

E

e-mails 34:14

earlier 86:18; 91:3; 92:18:
108:18; 109:13

easier 6:18; 110:22

Ed 102:17

education 22:11; 26:14;
72:23; 89:13

‘educational 50:5

educator 77:12; 78:3,7
effect 61:22; 89:14, 18;
102:24; 112:1

effort 83:10

elther 30:13; 36:8; 41:13;
44:10; 69:9, 12, 15; 70:18;
87:3; 110:7

elected 5:12
Elementary 38:16
eleven 104:3

else 9:9, 11,13; 10:5;
16:9, 15; 17:15, 18, 19;
49:10; 52:2, 9; 60:18; 62:6;
70:11; 76:4; 82:22; 98:4;
100:7; 102:4

employe 4:25; 66:22
employed 17:18, 19;
34:22; 92:1, 5

employes 52:3, 10;
104:14, 19

employment 4:14
encouraging 88:7, 24
end 15:4; 17:3; 43:13;
44:24; 45:4; 46:5; 47:4;
48:20; 75:24; 87:6; 92:13;
OF:12, 15; 103:19

ended 45:19; 74:23
ending 15:5.
endurance 7:10
engaged 5:10; 11:11
engagement 39:13
enhanced 93:3
enhencing 22:12
enough 68:21; 99:22;

 

101:3
ensure 93:15
enter 39:13
entire 6:21; 12:17; 91:21
entirely 110:18
entitled 63:7
Eric 4:4; 36:5; 38:20; 43:6
estimate 11:13
etcetera 98:15
event 109:1
events 3:20
everyday 50:3
evolution 16:8; 17:9, 10;
18:15; 22:2, 15; 27:4;
44:17, 22; 54:23; 55:3, 6,
10, 14, 17, 20; 56:11, 19;
§8:6; 59:22; 61:1; 62:14,
20; 64:9, 12; 73:14; 76:3,
10; 79:2; 84:6; 84:1, 6, 9,
18, $9; 85:5, 9, 13; 86:8,
14; 87:1; 88:6; 89:4, 24;
90:5, 21; 109:25; 1103,
10, £3; .111:25
evolving 17:11
exact 43:23; 64:23, 24
Exactly 40:11; 68:8
examined 3:3
example 46:2; 68:19
except 3:4
exception 47:20
Executive 28:12, 20, 22,
25; 29:3, 14
exhaust 10:16, 24
Exhibit 7:15, 24; 13:1;
34:17; 22:5; 46:19; 48:3, 6,
7; 53:9, 13; 67:10; 78:18;
92:10; 103:20
existed 89:12; 93:3
existing 22:13
exit 29:5
expanded 112:23
expect 63:1; 79:10
experience 31:19; 49:14
experiences 67:23
expert 99:14, 19; 101:9
Explain 61:7; 76:22;
78:22; 83:6; 85:10; 86:17;
93:2
explanation 19:5; 68:6;
BO:5; 82:2; 85:22; 86:5;
97:23; 113:6
explicitly 88:24; 89:5, 23
expressed 64:20; 73:7;
74:3; 92:25
expressing 73:8, 12;
74:5
extend 49:23
extent 37:6; 91:14;
107:24
extrapolating 73:1

 

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(3) D - extrapolating
 

 

Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 36 of 41

 

 

 

 

 

 

 

 

 

 

 

 

_ Richard Nilsen Tammy Kitzmiller, et al. v.
January 3, 2005 Dover Area School District, et al.
F followup 68:5 52:6, 18, 25; 53:4, 18; holding 78:19 instructional 46:13;
forbid 91:1 $4212; 57:16; 58:8, 22; home 45:6 67:21; 112:13; 113:2
forbidding 90:19;91:5 | 59:25:67:16;71:8; 72:14; | honest 22:11 instructions 70:13, 16
\- . 73:9; 75:8, 20; 76:20; / :
face-to-face 10:4, 17,19; | forget 37:21 hopefully 6:13 intact 98:13
3. 36:2 77:20; 80:21, 23; 84:7, 13;
11:3; 36:25 forget 12:25 97:2: 89:8, 25; 91:7; 92:16; hour 92:15 intellect 18:18, 21, 24;
facility 44:11 forgotien 108:1 94:5: 96:7, 22-97-20; , hours 9:8 19:7, 8, 10, 11,23, 15;
fact 22:15; 23:24; 33:21; | form 3:4: 29:20; 100:25; | 101:22; 104:10; 106:4, 12; | housed 43:23; 45:3, 24; a 97:4, 7, 16, 18, 235
369% Bee oa 103-8; 111:7 108:15; 10:21, 23; §1:19; 62:17; 68:3 ntelligent 16:3, 3; 17:5
18; 64:15; 78:2; 79:8; formally 27:17; 89: 110:21, 24; 111:10, 17; : ean Tae
81:15, 24; 82:11; 83:4, 8; forme y anh? 89:9 112:21; 113:31 humans 101:6 16, 20, 21; 18:5, 8, 11,14,
93:16; 10:22 rms 98:11, 17 : Hundreds 34:14 17, 20; 19:9, 16, 18, 19,
facts 83:12 forth 16:7 given 30:6: 68:75 63:5 21; 20:2, 5; 27:4; 43:14:
faculty 18:11; 31:10, 14, forums 878 Giving 102:13 I £18 605 Oe
20; 32:17; 33:16; 91:21 found 48:16 leaned 76:4 5; 71:6, 11; 72:13, 19, 22,
: Foundation 41:22;71:8; | 2Panee’ /: : 25; 73:1, 3, 24; 74:4, 11,
fair 3:22; 59:4; 68:21; 52:14:76:20:77:20, | GOU97:25;98:6,18,24 | idea 20:1; 101:24 14, 18; 75:10, 13, 14, 18;
84:15 97:20; 101:22; 104:10; goes 94:23 identitied 79:24, 25 76:2, 8, 12; 77:1; 78:23,
tairly 47:4 106:4, 12 Good 3:11, 12: 4:2: identities 86:4 25; 79:1, 14, 16, 17, 18,
Fairview 24:20 tounded 61:1, 2, 19; 45:14; 86:18 identify 16:13;79:10; 21, 24; 80:1, 4, 8; 81:16,
faith 74:8 62:13, 14, 19, 19,20,21; | Gordon 26:10 86:22; 87:1; 107:11 20; 82:5; 84:2, 11, 14,17,
fall 11:17; 34:7; 40:25 109:24; 110:2, 9, 12, 15; graduate 26:14 1) 68:20 20 85a oes a eos
false 51:22 hour ge: 25:21-47:9,24, | Peat s6:23 immediately 70:18 20; 91:2, 6:93:15, 19, 21,
familiar 19:12, 14; 42:11; 4B; 54:10; 62:17;62:15, | ground 6:12; 53:20 imparted 16:20; 17:1 22, 25; 94:13, 21, 25; 95:2;
en analy 2zZ 16; 68:8, 21 grounds 54:13; 84:7 implement 87:18 96:2; 98 ta oN
ar ol: . ete “y-
. : roup 15:2; 46:7, 10 implemented 29:12, 17 13, 16, 20; 100:1; 103:1;
fashion 7:3 fourth 63:20 a idence 68:23: 69: implementing 87:16 | 10821, 23; 111:1, 2, 5,6,
Fox 6:15 guidance 68:23; 69:6,8, | Imp nting 87:16;
favor 59:9 | rome 50:3 19 B9:22 12,15; 112:10, 14, 15, 16,
feathers 98:14; 104:1 Frederick 29:5 Guide 47:2 important 94:16; 95:5 ead oe: 14
atures 98:1 ; 79 - °
Ret we 98:13 tree 7:10; 41:3; 42:5, 6,6 H inacewrete 91:2 2106 intention 45:1; 107-10
- frequently 96:13 include 31:20; 50:6; interest 39:3; 40:3;
tev 08:16 front 14:12, 15 7239, 87:16 41:14; 42:2
fitee 44: full 22:8, 21; 28:8, 16; half 25:1; 26:6; 27:16; included 85:11; 95:17 interested 20:21
on 44:18 32:15, 21;33:29, 25:34:1; | 102:21 includes 59:5, 10;80:4; | intermediate 33:21
fighting 102:14 63:10; 65:23; 68:2; 92:22; | Hall 66:6 112:14 interrupt 92:12
figured 70:23 113:6 Hami . including 22:15; 82:24; * .
filed 7:19;8:3, 6; 104:3,7 | functions 32:6 ". Indian 46:3 mroduce 4:3
u handed 8:11 Indians 46:3 introduced 4:2
filing 3:3 further 80:8; 92:13 handwriti . n : . .
handwriting 105:19 Indicate 42:19; 86:7 investigate 17:15, 20;
filled 105:23 i . Indicate 42:19; 26° F 11-75:
handwritten 104:25 : ° 18:7, 11; 75:18
final 15:7; 16:6 G happen 5:14 indicated 41:14 investigation 18:4; 75:22
find 41:10; 106:5; 107:17, ae-9n. indicating 15:12 a
19, 22,25 happened 14:15; 28:7; individual 6:6; 27:20; invite 31:25
finding 42:2 gain 16:11 102:10 45:5; 46:1, 9; 47:19; 51:9, involve 18:17, 20; 65:6
fine 39,2:43:8;110:23 | 98P897:20;79:5,6,10, | hard 96:15 15;67:6;72:1,4,8, 11,17; | involved 34:3; 52:2, 9;
ine 59:2; 43:8; 110: 14, 15; 81:10, 15, 18,20, | Harkins 9:14; 24:6; 104:7 | 102-17 65:33; 83:1, 9; 92:4, 6;
finish 6:20; 90:8 25; 82:1, 4; 83:15, 19; Harrisburg 10:15 individuelly 52:22 102:15
fins 98:14; 101:1 87:24; 88:6, 7, 13, 25; headed 43:21 . ede. involving 67:20
6: 90: 2 ea 3: individuals 9:16; 16:12,
firm 4:4; 5:17, 18,19, 23; | 89:6;90:20;109:5,9,12 | Lea, so.94-61:12,21; | 13;32:7;35:3, 15, 18; issue 3:20; 31:16; 46:18;
6:2, 8) 38:19 gepsiproblems 15:8) | gag 40:22; 42:5; 59:9; 72:18; | 50:7: 52:10; 55:20; 63:7;
firmly 72:3 tho, AOE heard 19:15, 21: 20:7, 16; | 91:20; 99:15 65:6; 67:19; 74:22; 75:2;
first 7:18; 9:16; 13:3; gave 15:25,42:24;44:6; | 417, 74:13;85:2 "| information 8:18; 14:3; | 76:47;89:19; 91:15;
15:21; 19:21; 20:7, 16; 69:22 hearing 14:7 42:5; 69:12; 73:16, 17, 19 99:19, 20; 103:6
22:8; 32:18; 38:4; 48:19, general 3:19; 17:3; 45:15 h 20. 21:54:13; | informing 22:13 issued 91:12
23; 54:2, 20; 72:24; 74:13; | generally 94:14 earsay 53:20, 21; 54:13; | . issues 79:9
87-16: 92:22 57:16; 98:8, 19 informs 112:57
£16; 92: generated 14:10 initial 14: item 21:1, 2, 4, 6; 47:4;
Hel, O81: 101: heart 87:11 initial 14:20 2, ;
fish 98:23; 101:1 generating 14:2 . 50:21; 79:13; 90:18;
. . . held 4:18; 93:6 initiated 11:25 oh 14a
five 11:10; 25:11, 11,15; gentieman 5:9: 37:21 . 95:24: 14333
26:6; 42:11, 12, 13; 43:4, estures 7:1 ’ hereby 3:2 inquiry 3:19; 87:8, 23 items 93:22
9; 56:6; 62:17; 63:10 OILLEN oe. __ | Hermance 102:17 instances 96:17
focus 71:14, 15, 18; CLs. Meaty oe iba. High 18:11; 22:10; 25:13; | Institute 36:17, 19; 37:8, J
110:5 S 1is1 44:24 2617; | 4810 16, 17, 19; 106:5 14; 38:7; 39:10
follow 33:2; 88:15, 16; 36:5; 37-2, 6,38:12, 20, | highlighted 65:2 instruct 18:7, 10; 66:21;
110:19 39:2, 22: 40:11; 43:22: hit 10220 69:16; 70:6; 108:10 January 3:21
following 80:4; 90:1 42:9; 43:6, 8; 45:8; 48:3; | hold 24:25; 25:20, 14; instructed 67:1; 70:9 job 6:17; 24:22
follows 3:8 50:11, 18, 23; 51:5, 11,18; | 72:12,18 Instruction 25:7; 48:1 joined 4:12

 

face-to-face - joined (4)

Min-U-Scripte Filius & McLucas Reporting Service, Inc.
 

Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 37 of 41

Tammy Kitzmiller, et al. v.
Dover Area School District, et al.

Judge 10:14, 23
Judge's 3:23.

duly 19:23; 20:17; 72:25;
74:14, 16,17, 18, 25;
75:15, 16

June $4:3; 55:23; 56:3;
58:1, 24; 59:13, 24; 63:7;
64:16; 109:14, 21

K

keeps 27:11"

kept 28:2

kids 46:4:95:1,8

kind 11:13; 21:23; 22:1;
98:16; 108:6

kinds 28:11; 70:7
knew 12:5; 93:5; 103:18;
106:22

knowing 41:15
knowledge 8:18, 20;
33:11; 35:13; 36:3; 94:9

L

lab 82:21

language 13:6; 15:16,
19, 25; 47:13; 67:20
large 53:15

Last 9:4, 22; 10:3; 24:13;
30:16; 47:25; 48:19;
$4:20; 87:6

Late 44:5

fater 108:1

few 4:4: 5:17, 18, 19, 22;
6:1, 8; 11:11, 13, 21; 12:2,
7, 40, 20; 16:18; 34:7;
38:19

lawsuit 4:6; 10:7; 37:19;
38:2; 39:12; 46:17; 47:5,
15; 104:16, 21

lawyer 37:22, 24;39:18
lawyers 17:14

lead 80:23

Leader 92:7

Jeading 80:21; 98:20
leads 18:23

learn 81:18, 19

learned 74:25; 76:14
learning 67:22; 81:4, 7,9
least 42:11

jeaving 46:1

lecture 67:23, 25; 68:8,
13, 15, 28; 108:23; 112:10,
12, 13, 20, 22, 23, 24;
113:2,6

lectures 27:3

left 46:11; 47:18; 102:19
legal 37:3, 8, 15; 38:25;
39:13, 24; 40:4; 71:2
Lehigh 85:2

letter 103:3, 5, 17
letters 34:14; 103:44

Filius & McLucas Reporting Service, Luc.

 

 

Levin 66:7; 67:8; 105:12;
107-11

liability 91:15

liable 90:24

librarian 44:18, 20, 21;
45:3

library 43:16; 44:4, 14,
16; 45:5, 6, 19, 22; 46:1, 7;
49:11

life 60:17; 64:25; 65:1, 3,
6; 69:40, 15; 70:10; 77:5,
10; 80:5; 85:22; 86:6;
96:18; 97:4; 98:12, 17, 23
limited 3:15, 19; 84:2;
95:5; 107:5; 108:9

listed 106:8

listen 83:5

listening 976

lists 29:19

Hiterally 13:25
hitigation 67:20

little 6:11, 18; 34:6

live 24:17, 19

located 43:15

long 4:18; 9:7; 24:25;
25:10, 14; 26:5; 41:3;
89:12

look 7:20; 14:24; 47:7;
56:10; 66:22; 67:2, 10;
97:10; 103:2; 109217
looked 24:15; 67:7; 94:7
looking 56:18; 59:21, 25;
67:3, 13; 92:13; 109:20
lot 46:2; 88:18, 21

M

makes 65:19, 21, 23;
FSF, 145 95:24: 96:1
making 12:8; $6:17, 21;
57:23, 24; $8:13, 15, 21;
60:10; 64:10; 80:14, 15;
81:1; 9§:13; 110:2

many 11:9; 13:21; 51:20;
64:15; 101:10; 107:19, 25
mark 46:22; 48:5
marked 7:15, 17, 24; 8:2;
14:17, 19; 46:19, 23: 48:7,
9; 53:9, 12; 105:4
master 18:18, 21, 24;
19:6, 8, 10,11, 15, 15;
96:19; 97:4, 7, 16, 58, 23;
98:6

Master's 26:11

match 102:16
materials 42:6; 75:1, 4;
93:24; 94:7

matter 4:9, 25; 7:19;
10:25; 31:21; 37:4, 15;
38:22; 46:13, 15, 16;
47:11, 17; 48:25; 50:1;
64:5; 67:19; 74:7; 87:14:
94:20; 103:13;112:12
matters 103:14

may 40:8; 45:4; 97:12;

 

97:12

Maybe 36:7; 103:21
mean 10:22: 16:4, 25;
17:1, 10; 19:19; 54:25;
55:1; 61:7; 64:24; 76:2, 8;
77:33 82:20; 85:6, 9; 86:13:
93:11; 96:15, 21; 98:6;
11113

Meaning 23:4; 36:6; 61:8;
68:17; 75:23; 112:6
means 39:17; 68:9; 97:2,
5; 98:11

meant 21:19; 55:9; 60:12;
F6:11; 77:24: 79:6
mechanism 19:3

media 51:23

meet 9:5: 10:9; 27:7; 30:8;
38:15

meeting 9:11, 21, 23;
10:1, 3, 14, 14, 23, 23:
27:23, 25: 28:20; 29:10;
30:12, 23; 31:11; 32:13;
34:3; 38:5, 10, 17: 56:25;
57:4; 58:16, 17; 59:3, 19;
62:2, 5; 63:4, 21; 64:18;
70:3; 71:1; 91:20; 102:7,
22

meetings 10:5, 17,19,
24; 11:3; 27:9, 11; 28:11,
17, 23; 29:1, 3, 8, 19;
30:10, 22, 24; 31:8, 10, 15;
41:14; 66:24

meets 28:8

member 12:9; 20:19;
31:14; 57:2

members 6:6; 9:16;
13:15, 16, 19; 14:6; 16:14,
20, 24; 17:1, 4, 14; 18:10;
23:6, 21; 24:4, 8; 30:5;
31:5, 6: 32:4, 5;41:10;
42:18; $1:21, 22; 52:4, 10;
59:3; 64:7, 20; 67:6; 69:2;
92:1, 99:7, 15; 10021;
104:5, 6, 13,19

memo 15:11, 17; 103:24
memorialize 29:19
memory 85:1

mention 85:23
mentioned 9:16
mentions 85:21

merely 22:10

merit 94:21

Met 9:2; 10:10

Michael 57:9

middle 5:15, 23; 6:2;
11:12

might 36:5; 45:16; 85:24
Mike 9:15; 105:1,8
Miller 66:7; 67-8; 70:4, 21;
105712; 107:11

mind 95:23.

minute 26:16; 96:6
minutes 27:11; 28:3, 3,6;
29:3; 103:2

misleading 81:22

Min-U-Script®

 

misled 81:24
misquoted 51:3, 9, 15;
52:5, 12

misreported 52:12
misrepresentations
§2:24: 53:1
misrepresented 51:16;
52:5

Missed 86:10, 12
misstatement 52:25
misstatements 52:23
modifying 13:10
moment 68:25
Monday 59:2
Monday’s 59:18
month 11:18; 27:8
More 5:42; 10:21; 11:11,
13, 21; 12:2, 7, 20; 16:18;
34:7; 76:22; 85:2; 97:12;
99:18; 101:13; 111:8;
1128, 22, 24

morning 3:11, 12; 4:2;
45:14

move 40:7

Mrs 9:14; 24:6; 104:7
much 102:7; 107:15;
108:13

Muise 10:21

Musiim 61:1,9, 18;
62:14, 19; 109:25; 110:3,
9,15; 111:24

Muslims 112:2

must 98:6

myself 4:2, 3; 70:4

N

hame 4:4; 16:25, 25;
17:6; 28:11; 37:21; 85:18
nature 17:11; 78:14;
80:18; 111:6, 14

near 47:4; $4:4; 103:19
nearly 63:11
necessitate 17:5

| need 6:25; 23:4; 38:23;

OP:12

needed 70:23
nevertheless 89:22
new 59:20; 65:11, 17
News 50:2; 56:1, 3;
112:19 :
newspaper 51:2, 8, 14;
§2:4, 16; 53:12, 19; 54:6,
16, 19; $6:3 4; $7:18;
§8:10; 59:7; 60:7; 100:14,
20; 109:13

newspapers 45:14; 50:1,
9, 16; 52:11, 21; 100:9
next 32:14; 38:9; 54:10;
56:1; 57:6; 58:1, 24: 64:7
night 9:4, 21; 10:4; 24:13
night's 59:3

NILSEN 3:7, 11; 4:2, 14;

 

Richard Nilsen
January 3, 2005

5:17, 18; 15:2; 16:2; 26:13
38:25; 40:13, 41:24; 43:4;
45:14; 49:13; $3:11; 54:2,
10; 64:14; 67:10; 72:24;
80:11, 17; 87:6; 96:12, 135
nods 7:1

Noel 59:3; 64:8

North 38:16

note 3:13; 65:1; 104:2
noted 14:14; 91:3
notes 29-8, 10,12, 14,16
104:25; 105:17
notifying 103:24
November 68:5; 69:25;
91:20

number 61:17; 73:14
numbered 47:7
numbers 14:22, 23; 15:4
4,8

numerous 16:12

Oo

o'clock 92:13

object 53:29; 54:12
Objection 9:23; 12:1;
41:22; 42:9; 50:11, 18, 23.
$1:5, 11, 18; 52:6, 18; -
$3:23; 57:16; 58:8, 19;
71:8; 72:14; 73:9; 75:8, 20
76:20; 77:20; 80:21; 84:7,
13; 87:2; 89:8, 25; 91:7,
94:5; 96:22; 97:20;
101:22; 104:10; 106:4, 12
111:7; 112:21
objections 3:4
objective 87:14; 95:13
Obviously 94:23
occasion 27:19
occasions 10:12, 13;
11:9

occurred 39:5

October 13:10; 14:15;
27:19; 34:10, 18, 20; 35:4.
16; 47:14; 49:2; 102:6
off 4:2; 7:12; 14:3; 68:19,
10239

offer 41:2

offered 39:23

offering 39:24

offers $9:21

Office 13:23; 14:11;
45:22: 69:25; 106:2
official 34:3; 39:15
officially 28:2: 38:3
often 27:7; 30:8

Once 86:23

one 6:4, 18; 25:19; 26:8;
27:19; 42:11; 46:1; 47:9;
54:21; 59:21; 65:8; 78:5,
19; 81:9; 82:1, 7; 83:23;
85:12, 15; 93:6; 95:18, 25
96:1, 5, 5; 106:25; 10724;
109:22; 111:8; 112:8

(S) judge - on
 

 

Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 38 of 41

Richard Nilsen
January 3, 2005

ones 17:1

only 5:3; 10:16; 21:18;
23:10; 26:24: 46:6; 47:25;
51:25; 58:6; 71:3, 17, 17,
21; 82:13, 16; 84:23; 88:6,
9, 11; 89:24; 91:1; 93:5;
99:8, 10; 101:4; 106:8
open 28:9; 87:10, 88:4, 7,
24; 89:2; 90:19, 24;91:1, 5
operation 19:5

opinion 72:11; 78:6;
84:23.

 

 

 

15:11; 22:5; 43:4, 9; 47:6;
48:19, 21; 50:14; 54:2;
56:2; 57:6; 60:1; 63:8, 8;
92:9, 22; 98:20; 103:22;
104:23; 105:2, 4, 15;
109:19

pages 47:3; 67:13, 15;
98:10

Pandas 11:22; 20:7, 8,
16, 18; 22:3; 24:14; 40:13,
16; 43:15; 49:7, 11; 90:13;
96:17

 

phone 11:7; 34:14
phrase 17:9; 19:19;

‘| 35:22; 42:10; 55:9; 85:5, 8;

99:9

Phrased 91:14
physically 43:23; 45:22
piece 46:13; 59:25
place 27:21; 44:14, 24
places 77:7

Plaintiff 7:15, 24
plaintiffs 3:16; 4:6; 7:19;

 

Tammy Kitzmiller, et al. v.
Dover Area School District, et al.

Princeton 66:6
Principal 25:13, 23, 25;
26:1; 44:10; 49:15, 15
Principal's 17:24; 25:20
principles 99:24
printed 105-21, 24

Prior 5:16, 23; 6:2; 11:11;
12:20; 24:21; 25:5, 12, 25;
28:7; 33:1; 34:9, 15, 20;
35:4; 38:10; 45:17; 49:13;
68:1; 93:5

 

 

 

 

R

 

Raelians 99:21
randomness 19:1, 20
rather 7:1; 67:7
reaction 63:3

read 8:16; 24:14, 16;
30:15, 16; 45:14; 47:24;
48:15, 22; 0:1, 3, 4, 13;
68:22; 69:5; 73:23; 74:1,

opinions $1:21;72:2,9 | paper 60:24; 61:4,8; 14:21; 92:10; 104:16,20 | priorly 93:7 Mee boas aot 1 25;
opportunity 40:20; 87:10 | 63:14 Planned 47:2; 65:2; 68:4; | private 106:8; 107:18, 21, yon pay-& O47.
pportunity * 23: 108:3, 9, 11 86:2; 93:22;97:3, 9, 12;
opposite 64:23, 24 papers 50:2, 3 TR22 NOS 9s 29 100:14; 104:17; 109:6, 18;
opt 102:25; 103:12 paragraph 22:8; 23:22, planning 104:15 privileged 39:21 132:17
option 103:18 23, 25; 24:5; 43:13; 48:22, | play 102:20 problem 96:14 reading 48:24; 68:15;
options 21:7, 11, 22, 23; 24; 56:6, 9; 57:8; 58:4; please 7:7, 11; 15:8; problems 67:20; 79:5, 7, | 73:22; 74:10, 23;75:14;
22:1: 36:21; 54:11:74:15, | 5922, 18:60:5;63:10, 11; | 50:12; 68:16; 76:6; 97:3,3 | 11, 14, 16;81:10,15,19, | 76:5, 14, 24, 25; 100:20;
19 64:7; 68:21; 80:4;87:6; | Heint 94:15; 210:20 20; 82:1, 2, 5;83:15,19; | 112:22, 24
orally 106:20 92:22; me 104:2 8: pointed 89:23; 109:1 88:8, 14, 25; 89:6; 90:10; | reads.90:12
Order 3:15, 17, 18; 6:17; Nah sal eee Smite policy 3:20; 22:9; 28:5, | 109:9.12 real 87:11
59:15, 16; 73:5, 7; 743 60. 2 “< 63:10: 68 OY) 95:39:05: 43:14: 4B:3: proceed 53:24 really 38:23; 103:19
organization 36:20 ee een ac 87:15, 21; 89:22; 91:8; process 6:11;32:14,16; | peason 41:19; 42:1: 71:3,
parent 86:20; 103:12 112065 9, 42:1; 71:3,
organizations 35:3 . 102:23, 24; 109:2 33:15;65:10, 16, 24 17, 18; 92:1; 95:17; 104:3
origin 77:10; 80:5;85:22; | Parents 69:13, 17: 70:18 | portion 109:17 produced 29:3;102:6 | reasoning 95:21
86:5: 96:18; 97:4 745, 12; 90:17; 1 3 position 4:16, 18;9:19; | product 79:2 reasons 107:9
original 34:2; 94:23 rong. so8 on 24:25; 25:10, 14, 20; production 14:20; recall 19:17, 25; 59:9
originally 90:14 24: 79:22; 11E20 oy 27.13; 40:8 103:21 92:18; 110:1; 111:20
origins 3:19; 60:17; participate 91:23 positions 25:25 proposition 60:20 receive 40:20
64:25; 65:1, 3, 6; 69:10, ictosted 11:23: posits 111:1,5,12,13 | protect 91:10 recess 45:9, 11; 53:5, 7;
15; 70:10; 77:5 0 c pee 11:23; possibility 85:23; 100:3 rover 82:21 96:8, 10
others 59:20 a iculer 66: possible 18:22; 35:9,10, | Prov" "he79.19:87:10 recitation 22:18
otherwise 66:25 pardiowlar 6c-3 12;107:12, 16,20,25 | Peete ay recognize 13:6; 46:24;
out 14:10; 38:25; 41:11; particularly 39:3; 104:4 possibly 58:7 provided 8:5, 13:14:21 47:11; 48:10; 105-4, 7
42:2; 45:6, 24; 46:4, 6; parties 3:3 post 26:14 provides 22:10 recollect 22:4: 67:3
49:11; 83:6, 21; 89:23; passage 97:6 practice 27:23; 29:8, 14, | providing 69:4 recollection 16:16; 17:8;
90:5; 92:14; 97:8; 102:25; | passages 98:9 16; 31:20, 24; 32:23, 25; public 28:9, 16; 39:3; 20:17, 25; 21:7; 64:2, 4,
oe. 135 306:5; 10717, | passed 13:4, 10:34:10, | | 33:2, 5,7, 12;45:15; 41:14; 64:22; 77:13; 17; 110:6
, 23; 109: 15; 93:14 87:11; 89:10, 12, 14,18; | 78:10; 102:3; 108:9 2:
outlined 68:2 passing 24:1 107:17, 19, 22, 25 publicly 51:23 Oo a a
outside 34:9, 23;35:3; | past 36:25; 59:2; 70:5, 21; | practices 67:22 pull 50:4 66:2, 8, 9,11, 16, 19
36:12; 91:23, 25. 74:2, 10 preliminary 3:15 purchase 42:16;65:13; | recommendations
over 27:1, 16; 36:25; Pat 9:10; 58:18 prepare 8:24 66:3 32:11, 12, 18, 19, 20;
98:20 patience 108:14 prepared 8:12; 13:12, 14, | purchased 42:8, 10,12, | 33:17, 18,19, 24
overturned 78:6 Patrick 5:% 38:23:40:8 | 16, 23; 25:16, 18, 25; 13 recommended 15:12,
owes eg + Patriot 50:2 68:22; 69:1; ‘yon oa purchasing 65:11, 16 16, 2 4:3, &: 6:17
own 12:3; 67:5; 69:13, T7; | pause 102:20, 20 preparing 13:20, urpose 3:16, 20; 22:1 record 3:13; 4:3, 3; 6:17;
70:12, 19; 72:4; 86:20, 24; paused 90:9 present 9:9, 11,13; Pate, 25; 23:12, 13, Ma 7:2, 12; 27:23; 28:22; 36:9;
90:16; 104:8; 109:6 : . 16:24, 25; 17:4; 67:25; 20; 24:1; 71:23; 72:1: 46:21; 48:2; 53:17, 18;
Pennsylvania 103:11 | ¢0:6-70:3;81:13; 100:25; | 2:24;92:20, 25:94:20; | 54:12; 58:2, 25; 59:24;
P People 11:22; 22:3; 101:8 95:5; 105:1 1: 106:3 102:21; 109:15
75:24; 95:14 presentation 103:1; purposes 92:12; 103:13 | recording 28:25
Pepper 4:5 112:14, 23 pursuant 3:14 recordings 27:25
P 78:18 perfectly 46:21 presented 56:11, 19 put 44:3; 89:9; 95:20; refer 16:17; 20:8; 90:14
P-4 7:18, 18; 13:1 period 55:23; 64:3,16; | presenting 81:14:94:17 | 99-15; 101:20; 102:1 reference 48:4; 57:12,
P-2 7:18; 8:2, 11; 22:5; 75:25 presents 80:18: Putting 74:25; 78:9 24; 58:15; 77:5; 80:8
43:5, 11 periodic 103:14 President 24:6; 29:25; referred 84:3
P-3-48:7, 9; 78:19 periodically 37:1 30:4, 7: 58:5; 70:4, 5, 21; Q referring 15:6: 16:17;
P-4 53:9, 13 permitted 86:13 104:7 18:2; 20:9; 24:4; 30:19;
P-§ 14:17, 20 person 9:24: 10:1, 3, 4; press 48:3, 13, 16; 50:13; 35:18; 48:14; 84:25;
P-8 46:19, 23. 20:1; 30:3; 37:24 51:19; 71:20; 78:20; 87:7; | qualify 17:22 97:19, 24; 98:23; 99-4, .
p-m 113:12 personal 51:20; 60:12 91:24 quote 75:5; 109:25; refers 60:16; 85:21;
packet 103:2 personally 34:21; 36:6 previously 93:3 111:21 99:16
page 13:3, 6; 14:14; persons 20:1; 100:10 primarily 53:16 quoted 100:9; 111:24 reflect 23:11, 16; 94:9

 

ones - reflect (6)

Min-U-Scripte Filius & McLucas Reporting Service, Inc.
 

 

Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 39 of 41

Tammy Kitzmiller, etal. v.
Dover Area School District, et al.

regarding 34:11;35:2;
51:3, 9; 74:22; 79:2 113:%
regular 50:1
regularly 30:10
relate 37:7

related 50:4

relates 45:23; 74:23;
87:24, 25

relating 27:4; 70:8
relationship 5:17, 22;
6:1, 7; 19:16; 39:6, 9
release 48:3, 13, 16;
50:13; 53:19; 71:20;

 

requires 88:16; 89:23.
requiring 88:12, 22
research 17:24, 25:
69:13, 17; 70:19; 86:20;
90:16; 93:21; 107215;
108:2; 109:6
researched 99:13.
researching 75:24
reserve 40:8
reserved 3:5
resolution 13:4, 5,9, 12,
20, 21; 14:5, 7, 13; 15775
16:2, 4, 5, 6, 6; 24:2;

 

18; 109-1, 13, 19; 120-19,
23; 11127, 18;113:1,9
rules 6:12

rulings 3:23

running 13:25

S

Salem 38:16

same 6:22; 10:21, 22;
49:24; 50:18; 51:18;
60:24: 65:24; 67:13:

 

87:6; 102:14, 21; 104:2
111:20

Secondly 45:23
secretary 27:12, 13, 14,
15, 177, 18, 20, 21; 50:4;
102:14, 15, 18; 108:8
section 65:3; 71:23;
111:24

sections 88:13; 109:11
secular 22:12; 92:19
seek 38:25

seeking 37:8
selected 27:13; 29:24:

Richard Niisen
January 3, 2005

27:1; 33:23; 38:20; 41:12,
25; 50:12; 51:12: 52:7;
54:14; 60:3; 61:20; 76:21;
85:7 86:1, 11; 88:20; 90:9;
92:11; 96:23; 98:21; 9S:%
101:23; 103:12, 21; 1113,
8

sounds 7:1; 99:22
source 99:8

sp 94:9

speak 6:3; 12:22; 13:21;
21:5, 14; 23:7, 9, 10, 18;
34:25; 35:6, 21, 22; §2:17;

 

 

§1:13; 95:1 66:20, 24; 69:11; 83:1;
78:20; 87:7; 91:24 34:10, 15, 18;47:14; 49:2; | © atisty 42:1 30:3, 6 92:24, 101-10: 10411
relevance 50:11, 23; $325: oan 856, 9% 12; saw 8:21:42:11 selecting 65:16 speaking 23:2; 39:9;
51:5, 11; 52:6, 18 3:14; 100: caving [73:4sc19secs: | Seminars 27:3 68:10
religion 22:10 respect 11:2, 5,14 64g P22 52 1107.8. | send 103:13 speaks 65:1; 109:12
religious 73:8; 74:8; respective 3:5 9, 10,12: 111.20; 112:1, 2, | Sending 75:24 species 85:10, 16, 18;
78:14, 17; 96:5; 102:3; respond 37:9; 41:2, 18; 3 , 12; . sense 174 on05
103313 : . if 1)%:16-9-

: . scales 98:14 sent 33:25 specific 14:13; 15:2;
remain 45:1,6 ee oe ae ape scheduled 30:10, 12 sentence 17:10; $1:19; 16:20; 21:23; 31:16,
remember 12:23; 20:4: response 68:22; School 4:6. 7,15, 16: 56:9; 97:8; 110:8; 111:19 55:11, 18; 61:6, 10, 11, 15;
26:24; 27:2; 33:6; 34:20; responsibilities 25:3; . na oe Ce. te 36. ARf- 77:21; 78:8; 79:10; 93:21;
35:13; 38:10; 41:1; 42:14; | 29:17 5:12, 13, 21, 25;6:6,8:3, | Separate 30:25;48:6; | go45' 25

em on aa oo. an 4,12, 12;9:17; 10:6, 6,14; | 73:14 sack 1 22
50:19; 54:20, 20, 22, 22; responsibility 17:23; . ya ; . Specitically 17:21, 22;

"5 11, 13,15,16,18 po 12:5, 9, 15; 13:4, 9, 15,16, | serving 49:14 18:7 10°71-20
55:3, 5,11, ’* Je HAG, 28:16; 87:18 19; 14:5; 17:19; 18:11; session 28:12, 20, 22: af, PO, Ts
19, a 22, 25; 56:37, a restraining 3:17 20:11, 19; 22:11; 23:3, 5; 29:1,3 speculation 41:22; 42:%
21, 24; 57:1, 2, 5,20,22, | result 47:22 24:20, 22, 23; 25:9, 13,13; | sessions 28:13:29:14 | 97:5 96:22
23; 58:12, 13, 15,17; esulted 37:13 2UP; 32:7; 34:22; 35:1; Toe ee spoke 36:16; 59:4
60:10; 61:11; 62:6; 63:20, | F ; 38:6, 39-8; 40:14. 41:14: set 16:6; 38:5 spoken 36:3
24, 25; 64:10; 75:5; resumes 94:12 42:23; 43:15; 44:3, 10,14, | Seth 37:21, 22 Spring 66:14
100:20; 110:4,7,7,8,10, | retained 39:14, 16,17 16, 17,19; 45:2: 49:16, 17, | setting 64:21 pring ¢ oa
12; 112:1, 2,3, 5,7 retract 50:21 23; 52:3, 3, 10,11;56:25; | Sheila 9:14 asia
remind 6:11 returned 25:19, 21 57:2, 3; 59:19; 62:2, 5; shelves 45:20 stamp 45:
repeat 15:8 review 42:17, 18 64:18, 20, 22; 71:5, 13, 14, . stamped 43:23; 103:22

" Shippensburg 26:12
rephrase 87:17 reviewed 23:22, 24: 24:4 18; 77:13; 78:10; 82:14; Shore 24:20 stand 63:13
ee") 83:3: 872% 89:14; 90:6; . standards 71:21, 22, 25;

Report 70:17 9, 12,13 . +22,

rted 50:10, 17, 21: iewi “19. tae 92:1, 2; 93:10; 104:14, 14, short 53:3 88:11, 19
SOG Sd, LEAS eens gg 17 59:22 | 49, 19; 105:6; 107:1 show 7:17;8:2;14:1: | standing $8:19
Sn IS S97, 1s GOT é1e4, | evened 87:9 school’s 71:7 47:6, 8: 48:9; 53:11; 989 | start 31:4: 68:19
8; 63:14; 100:15 a RICHARD 3:7, 54:9; schools 105:22, 23; sit 66:6 Starting 13:3, ;
reporter 6:16; 30:17; right 5:9:8:7; 34:17; 106:5, 8, 9; 107:6, 18,22, | signed 45:6 state 21:25; 22:1, 21;
55:7, 14, 16 6523, 60.14: 72:4. Fag: | 2710848 11 significance 82:18 23:21; 63:7; 79:13; 88:16,
reporters 52:23; 55:19, | 95:11:110:17 «| SeHoelteacher 26:1 simpler 84:20 19,22 |
22 rights 40:8 science 22:11, 12; 26:15, | simply 3:13; 108:20 stated 85:3; 86:18; 94:10
reporting 51:16; 58:10 Rebert 10:21 et CU 7055 77513i singled 83:6, 21; 90:5 statement 22:21; 23:21;
reports 57:11; 58:4; . aU sit 27:20 43:15; 48:14; 56:15;
60:25 role 42:19 oa:28 Sitting 70:1; 71:1 57:19, 21; 58:10, 13;61:55

represent $:11, 13 room 29:6; 44:11; 69:25 scientific 22:14, 16; , eh 7: 62:24:63'3 15, 17,23;
ep 11,23 | ROTHSCHILD 3:10, 23; | 36:21; 60:20;73:12,16, | Situation 4:23 68:13, 15, 21; 69:1,4;.
representatives 104:15 | 4:1, 4:7:16;8:1, 8, 10; 17, 19; 74:6, 9, 21, 23,24; | SIX 22:5; 25:11;92:9,22 | 29.6 go:3: 81-5, 14; 82:9,
represented 5:6 9:25; 30:2; 11:2, 6; 14:18; 75:1, 7,9, 11; 76:18; TTS Sixty 42:12 24: 85:20; 86:2; 87:9;
representing 4:5;10:6; | 15:1; 26:19; 29:7;30:15, | 82:16, 19; 83:7, 15; 84:21; | skimmed 24:15 92:19, 21; 96:18, 19, 21;
53:13 | 18; 36:8, 10;37:11; 38:14, | 85:4; 87:11; 88:8, 9, 18, slow 6:18; 40:9 97:1, 14; 109-15, 18, 24;
request 45:4; 47:22; 23; 39:7, 20; 40:2, 7,12; | 22;89:6;90:5;93:11,16, | over ga 10:2, 5; 112:17, 23, 25
68:23 41:23; 43:7, 10; 45:7, 13; 19, 25; 94:2, 8 14, 17, 21; . state ts 51:20, 20:
Hy dS BO Social 26:4, 10 men 220, 20;
requested 28:21:31:9, | 46:20; 48:5, 8;50:15, 20, | 95:6 52:5, 16; 53:21; 54:5, 7,8,
13, 15; 68:5; 104:5; 109-11 | 51:1,7, 13, 24;52:8,19; | scientifically 16:8; 17:9, | Solely 18:19; 46:13; 13,17, 19;56:17,21;
requesting 70:17 53:3, 10, 23; 54:1, 15; 76:3, 10 107:14 57:23; 60:8, 10; 61:21, 25;
requests 30:13, 14:37:3: 57:17; 58:9, 18, 23; 60:2: scientists 22:16; 84:24, solicit 39:4 62:11, 12,13: 64:11;
nu? ore’ saie aed re 25; 85:3; 94:9 someone 63:11; 73:2 300:13, 21
aul . “RR: 2 ; * ; ; > sealing 3:3 Sometime 5:15; 11:17; states 13:3, 5: 22:8:
recuited 17-2590: Seer een Lock search 59:20; 108:10 36:25; 38:5; 40:25; 06:18 | 36:20: $6:9; 67:21: 79:4;
47:24; 48:15, 22:49:75 91:32; 92:17; 94:6;96:6, | Searchs 108:3 son 102:15 87:7; 98:10, 11; 105:21
68:22; 69:5; 70:6; 72:6, 7 | 11, 25; 97:22; 101:24; second 43:24; 48:21; soon 10:21 stating 89:5; 100:10
79:21; 80:3; 82:9; 85:20 104:12; 106:7, 14; 108:13, | 56:9; 59:18, 25; 60:5; 63:8; | sorry 5:19; 21:21, 25; step 32:14; 33:21
Filius & McLucas Reporting Service, Inc. Min-U-Scripto (7) regarding - ste;
 

 

Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 40 of 41

 

Richard Nilsen Tammy Kitzmiller, et al. v.
January 3, 2005 Dover Area School District, et al.
still 102:20 T thanks 48:6 twice 27:8 views 59:22
stipulated 3:2 theories 22:16; 44:22; two 7:17; 10:12; 13:7; vignettes 94:9, 12
STIPULATION 3:1 §4:11; 58:6; 59:10; 83:7, 14:14; 30:25; 31:1; 37:1; vote 100:11
socks? tab 969 Mo ee cbt de
storage 44 i ote a 2 24:86:7,14;87:1:88:18, | 24966 Ww
strategies 67:22 $ 97:15 21, 25;89:7;90:5; 93:7, 8, | typical 65:16
strategy 112:13;113:2 | talk 36:24; 37:20;88:13 | 9,11, 12; 101:21, 19 typing 13:25 Wait 26:16
strike 102:23 talked 35:20; 36:12, 23; | theory 13:8; 18:14; 19:2; waiting 43:22; 45:21
student 44:19; 69:5, 14; 49:14; 52:22; 72:10; 95:11 | 21:17, 18; 22:14; 26:21; U waived 3:4; 58:20
70:17; 73:4, 7:86:16, 21, | talking 13:24, 25; 14:2; 59:22; 65:7; 70:11; 71:15; Walezak 4:12
25; 90:12 17:14; 34:18; 44:20; 72:12, 19; 79:5, 7, 8,8, 9; alezak 4:
students 13:7; 22:10, 13; | 46:16, 18; 47:6; 68:19; 81:10, 19; 82:1, 10, 10,13, | umbreile 101-11, 21 War 68:20
47:12; 49:12; 61:2;62:15, | 88-10 13, 26, 19; 83:4,4,8,16, | un 100:11,19 Washington 10:15
24; 63:1;69:16; 70:7; 72:1, | tape 102:19, 20 21; 84:11, 17,21, 85:4, 21; | clear 9:23 way 6:4; 18:21; 23:21;
8, 10, 12, 21; 73:14, 15: tapes 28:3, 5 86:4; 88:8, 9, 11; 89:4, 19, . 36:7; 42:10; 51:25; 62:9;
214 TEBE. 1S , 24; 90:20; 93:6, 16, 19,25; | Under 31:14; 68:6; 65:8; 82:7; 83:23; 85:23;
74:3; 79:4, 11;80:1,18; | task 29:19 94.3, 8, 18; 101:13: 109:3, | 101:20; 102:1 993 ~~
81:4, 9, 14, 18, 22, 24; taught 23-2: 46:3; 47-18; ody &, ad Dy 3, ‘* 86:7; 99:3
* a 12; 46:3; 47:18; | 9 undergraduate 26:10, .
82:10, 14;83:3,7,10,14, | 49:24; 58:7; 61:3; 62:15 16, 22, 25 web 50:14
25; 89:5, 24; 90:6; 93:5, 6; 24: 63:2; 64:9 11 21 25: theretore 44:23; 68:7 week 41:3
94:18; 95:3, 14, 24; 65:4: 77:13, 22:78:4, 10, | therein 53:21 underneath 15:17 weeks 37:1
102:25; 109:2, 4, 8; 82:13; 83:7, 90:6; 95:4; ‘ thesis 111:1,5, 14 understood 73:12, 17 Wenrich 59:4; 64:8, 10
111:22; 112:18 141:22 third $9:2; 102:17, 18 unequivocally 36:9 West 24:20
studies 26:4, 10 teach 26:3; 48:25; 49:8, | Thomas 5:12; 10:21; Union 70:4 western 36:20
subject 17:15; 26:24; 68:3, 6; 72:6: 79:12; 88:12, | 11:21, 13,21:12:2,7,20; | unit 44:21; 49:6; 68:6, 18, | Wrenever 107:15
31:20, 23; 32:23; 37:4; 19, 22; 108:20; 112:15 16:18; 34:7 20; 69:6; 70:8; 112:13 le 44:21: .,
38:21; 46:16; 47:5, 11,15, | teacher 21:8: 31:25; Thompson 9:10; 10:5, | United 36:20 whole 44:21; 46:7, 19) 15
17; 48:2, 25;49:18,21; | 45:4, 23; 46:8; 80:17; 10; 33:24; 12:12 units 46:2 a B99? 79 11038;
51:3; 53:14; 56:25; 57:3; 86:16, 21, 25; 90:13; thoroughly 99:14 universe 73:5, 7; 74:4 hos : 37:21; 52:25;
61:13, 14, 15,17, 18; 64:4, | 93:12 thought 21:21; 74:6; University 26:12, 13; 104:25: 10:19
yer eos teacher's 46:12;108:18 | 92:15; 110:22 85:2 William 59:19
ah, 14:12:12 teachers 23:7;32:4,10; | Three 4:19;9:16,14:8, | up 13:25; 17:3; 25:16; willing 40:23
103:11, 14; 112: 46:2, 14; 47:19, 21; 48:15, | 10,12, 15; 15:6; 25:1,21; | 28:15; 38:5; 44:24; 45:4, 8 .
subjects 26:3; 27:4; 22, 24;49:7, 10; 57:12, 24; ] 47:95 54:20; 56:2 19; 46:5; 56:24; 57:3; wings 98:15
61:17 65-18; 66:2; 67:25; 68:12; | throughout 45:2 63:13; 69:9, 15; 74:23; wish 3:13, 17
submitted 105:6, 8 69:3, 4, 5, 19, 22; 70:24; Thursday 14:21 75:24; 110:19 withdraw 68:25; 84:15
substance 12:17 79:10, 21; B03. 68:13; thus 94:10 upon 78:25 within 45:22, 24; 51:19;
substantive 80:1 82:9; 83:3, 14; 85:20; 86:2, 6:8: urging 100:11 62:17; 68:2, 3, 17; 70:12;
ae . ® 13; 90:12, 22; 91:4; today 5:6; 8:5, 15 ee + 677: B32?" 101:11; 112:4
suit 71:2; 104:3,7 108:20, 23; 109:8, 11; together 87:10 pee Pa IAGT TED | Without 74:9
summer 106:18 1129 told 40:22; 52:22;81:25; | 73°11 Meena atingg 64:15
Superintendent 4:17; Teaches 111:14 91:4; 92:12; 100:1 used 12:15; 13:22; 16:4; " nding 64:1
5:1;9:20; 24:21, 23;25:2, | teaching $5:23;64:16; | took 26:21 ee 32518 39:22; witness sete
7 30:14; 31:6; 32:3, 9, 17; . * BO: “4S “6: 14:14: 54: HLL; 10522, 00 BP S757; SBS; IFS
353,816 Bea ee | 72:27, 18:80:11, 13, 15, top 13:6; 14:14; 54:4 uses 16:2 63:9; 67:42, 145 78:21;
$4:9;579;65:19,1% | SOU OeAS I? topic 44:18, 25;45:25; | eing 12:5; 19:22; 98:6; | 90:22; 92:21; 103:25;
66:10, 15; 89:16, 16; telling 67:3; 73:4; 88:15; | 70:19;71:4;91:5 1 O7-16, 18.23. ~Ss«|:«:204:24; 2105:3, 16
103:3, 16; 108:7 89:5 topics 35:16 Usually 27:8 word 25:16
Superintendent's 13:23; Temple 26:13 Total 25:25, 16; 49:4, 5; words 6:25; 7:2; 57:9;
14:11 temporary 3:17 140:10 | Vv 61:10, 1, 15, 16; 83:22
support 77:9 ten 11:10 Township 24:20 work 18:17, 21; 23:3;
' supported 23:22, 24 | tenet 101:1,4,5,7 track 66:13 99:4; 100:2,3
supports 73:19 tenure 33:7 treated 83:23 valid 22:11; 92:19; 94:2, worked 96:15
sed 86: term 16:2; 19:13, 15,18; | trial 3:5 8, 17; 95:6 working 19:10; 24:21
supposed 86:2, 16, 21, yay Dy i 5: .
25; 90:12 60:13; 77:3; 93:11; 94:11 | tried 42:1 various 23:5; 49:16; World 68:20
Supreme 77:17; 78:9 terms 19:12; 94:20; 97:24 | true 43:20; 74:15 98:11 thy 39:16 wrestling 102:15
Sure 8:8:32:16,35:6,22; | testified 3:8; 112:6 trumps 78:5 verbally ue 7 write 68:9, 11
39:47; 45:18; 46:21; testify 72:24 Ary 6:22; 7:7; 107215 verbiage 6}: writing 89:9
14, 73:17 83:10; testitying 75:33 trying 21:12; 38:10 ee 77:9; 95:8, 15, | written 32:23; 50:7; 53:14
95:11, 16; 96:7; FFL testimony 47:17; 49:6; | t 4; 15:11; 22:5; , 213; 87:
101:18; 103:17; 108:17; a5221 y A717, A286; 43:4; om Sonseae versus 36:6; $4:23; 55:4, Wrote 68:13; 87:12
O18 textbook 19:12;65:11, | $7:6;58:1, 24;59:13; 60:1; | 610, 14,17, 20 Y
surrounding 22:14 14,175 66:3; 107113, 15; 64:6, 8; 78:18, 22; 92:9; Vie 4:12
survey 10522; 106:1,3, | 108:3; 109:10, 11 103:19, 20, 22; 104:23; view 21:12, 13, 16, 20;
11, 15; 107:5, 10 textbooks 49:11, 11; 105:2, 15 74:3; 80:6; B6:6 year 25:19; 27:16; 45:7
surveyed 108:4 65:14; 66:23; 67:2, 4,7: twelve 92:13 viewed 94:14 47:25
sworn 3:8 10717; 108:6 twenty 44:18 viewpoint 78:3; 95:25. year's 47:25

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Case 4:04-cv-02688-JEJ Document 216-6 Filed 09/28/05 Page 41 of 41

Tammy Kitzmiller, et al. v. Richard Nilsen
Dover Area School District, et al. January 3, 2005

 

years 4:19; 25:1, 11,15,
22; 26:6; 27:1; 63:11; 74:2,
10, 16; 89:15
yellow 97:15; 98:19

. Yingling 100:6, 9, 18
York 50:2, 3; 53:16, 16;
54:4; 56:4; 58:2, 25; $9:13;
63:6; 108:8; 109:14

 

 

 

 

 

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